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                                PRODUCT MONOGRAPH


                                      Pr
                                         XARELTO®

                                       rivaroxaban tablet

                                    10 mg, 15 mg and 20 mg

                                           Anticoagulant




 Bayer Inc.                                                          Date of Revision:
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                                              XARELTO®

                                           rivaroxaban tablet

                   PART I: HEALTH PROFESSIONAL INFORMATION

SUMMARY PRODUCT INFORMATION

 Table 1 – Product Information Summary
 Route of Administration    Dosage Form, Strength                      Nonmedicinal Ingredients
 Oral                      Film-coated tablet, 10 mg,   Cellulose microcrystalline, croscarmellose sodium,
                           15 mg and 20 mg              hypromellose 5 cP, lactose monohydrate, magnesium
                                                        stearate, sodium lauryl sulphate, ferric oxide red,
                                                        hypromellose 15 cP, polyethylene glycol, titanium
                                                        dioxide

INDICATIONS AND CLINICAL USE
XARELTO® (rivaroxaban) is indicated for the:
   ∀   prevention of venous thromboembolic events (VTE) in patients who have undergone
       elective total hip replacement (THR) or total knee replacement (TKR) surgery.
   ∀   treatment of venous thromboembolic events (deep vein thrombosis [DVT], pulmonary
       embolism [PE]) and prevention of recurrent DVT and PE.
   ∀   prevention of stroke and systemic embolism in patients with atrial fibrillation, in whom
       anticoagulation is appropriate.
Acute Pulmonary Embolus in haemodynamically unstable patients, or in those requiring
thrombolysis or pulmonary embolectomy
For the treatment of VTE, XARELTO is not recommended as an alternative to unfractionated
heparin in patients with pulmonary embolus who are haemodynamically unstable, or who may
receive thrombolysis or pulmonary embolectomy, since the safety and efficacy of XARELTO
have not been established in these clinical situations (see DOSAGE AND
ADMINISTRATION).
Geriatrics
Clinical studies have included patients with an age > 65 years (see WARNINGS AND
PRECAUTIONS – Geriatrics (>65 Years of Age) and Renal Impairment, and DOSAGE
AND ADMINISTRATION – Renal Impairment and Geriatrics (>65 years of age)). Safety
and efficacy data are available (see CLINICAL TRIALS).
Pediatrics
The safety and efficacy of XARELTO have not been established in children less than 18 years of
age. Therefore, XARELTO is not recommended in this patient population.




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CONTRAINDICATIONS
∀    Clinically significant active bleeding, including gastrointestinal bleeding
∀    Lesions or conditions at increased risk of clinically significant bleeding, eg, recent cerebral
     infarction (hemorrhagic or ischemic), active peptic ulcer disease with recent bleeding,
     patients with spontaneous or acquired impairment of hemostasis
∀    Concomitant systemic treatment with strong inhibitors of both CYP 3A4 and P-glycoprotein
     (P-gp), such as ketoconazole, itraconazole, posaconazole, or ritonavir (see WARNINGS
     AND PRECAUTIONS – Drug Interactions)
∀    Concomitant treatment with any other anticoagulant, including
            o unfractionated heparin (UFH), except at doses used to maintain a patent central
              venous or arterial catheter,
            o low molecular weight heparins (LMWH), such as enoxaparin and dalteparin,
            o heparin derivatives, such as fondaparinux, and
            o oral anticoagulants, such as warfarin, dabigatran, apixaban, except under
              circumstances of switching therapy to or from XARELTO.
∀    Hepatic disease (including Child-Pugh Class B and C) associated with coagulopathy, and
     having clinically relevant bleeding risk (see WARNINGS AND PRECAUTIONS –
     Hepatic Impairment)
∀    Pregnancy (see WARNINGS AND PRECAUTIONS – Special Populations, Pregnant
     Women)
∀    Nursing women (see WARNINGS AND PRECAUTIONS – Special Populations, Nursing
     Women)
∀    Hypersensitivity to XARELTO (rivaroxaban) or to any ingredient in the formulation, see
     DOSAGE FORMS, COMPOSITION AND PACKAGING.

WARNINGS AND PRECAUTIONS
PREMATURE DISCONTINUATION OF ANY ORAL ANTICOAGULANT,
INCLUDING XARELTO, INCREASES THE RISK OF THROMBOTIC EVENTS.
To reduce this risk, consider coverage with another anticoagulant if XARELTO is
discontinued for a reason other than pathological bleeding or completion of a course of
therapy.
Bleeding
XARELTO (rivaroxaban), like other anticoagulants, should be used with caution in patients with
an increased bleeding risk. Bleeding can occur at any site during therapy with XARELTO. The
possibility of a hemorrhage should be considered in evaluating the condition of any
anticoagulated patient. Any unexplained fall in hemoglobin or blood pressure should lead to a
search for a bleeding site.



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Patients at high risk of bleeding should not be prescribed XARELTO (see
CONTRAINDICATIONS).
Should severe bleeding occur, treatment with XARELTO must be discontinued and the
source of bleeding investigated promptly.
Close clinical surveillance (looking for signs of bleeding or anemia) is recommended throughout
the treatment period, especially in the presence of multiple risk factors for bleeding (see Table 2
below).

 Table 2 – Factors Which Increase Hemorrhagic Risk
 Factors increasing rivaroxaban          Severe renal impairment (CrCl < 30 mL/min)
 plasma levels                           Concomitant systemic treatment with strong inhibitors
                                         of both CYP 3A4 and P-gp
 Pharmacodynamic interactions            NSAID
                                         Platelet aggregation inhibitors, including ASA,
                                         clopidrogrel, prasugrel, ticagrelor
 Diseases / procedures with special      Congenital or acquired coagulation disorders
 hemorrhagic risks                       Thrombocytopenia or functional platelet defects
                                         Uncontrolled severe arterial hypertension
                                         Active ulcerative gastrointestinal disease
                                         Recent gastrointestinal bleeding
                                         Vascular retinopathy, such as hypertensive or diabetic
                                         Recent intracranial hemorrhage
                                         Intraspinal or intracerebral vascular abnormalities
                                         Recent brain, spinal or ophthalmological surgery
                                         Bronchiectasis or history of pulmonary bleeding
 Others                                  Age > 75 years

Concomitant use of drugs affecting hemostasis increases the risk of bleeding. Care should be
taken if patients are treated concomitantly with drugs affecting hemostasis such as non-steroidal
anti-inflammatory drugs (NSAIDs), acetylsalicylic acid (ASA), and platelet aggregation
inhibitors.
In patients with atrial fibrillation and having a condition that warrants single or dual antiplatelet
therapy, a careful assessment of the potential benefits against the potential risks should be made
before combining this therapy with XARELTO.
Concomitant ASA use (almost exclusively at a dose of 100 mg or less) with either XARELTO or
warfarin during the ROCKET-AF trial was identified as an independent risk factor for major
bleeding (see also DRUG INTERACTIONS).
The antiplatelet agents, prasugrel and ticagrelor, have not been studied with XARELTO, and are
not recommended as concomitant therapy.
The use of thrombolytics should generally be avoided during acute myocardial infarction (AMI)
or acute stroke in patients treated with rivaroxaban, due to expected increased risk of major
bleeding (see DOSAGE AND ADMINISTRATION – Prevention of Stroke and Systemic


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Embolism in Patients with Atrial Fibrillation, Other situations requiring thrombolytic
therapy).
Cardiovascular
See ACTION AND CLINICAL PHARMACOLOGY – Pharmacodynamics.
Patients with valvular disease
Safety and efficacy of XARELTO have not been studied in patients with prosthetic heart valves,
or those with hemodynamically significant rheumatic heart disease, especially mitral stenosis.
There are no data to support that XARELTO 20 mg (15 mg in patients with moderate renal
impairment) provides adequate anticoagulation in patients with prosthetic heart valves, with or
without atrial fibrillation. Therefore, the use of XARELTO is not recommended in this setting.
Of note, in the pivotal Phase III ROCKET AF trial that evaluated XARELTO in the prevention
of stroke in atrial fibrillation, 14% of patients had other valvular disease including aortic
stenosis, aortic regurgitation, and/or mitral regurgitation. Patients with a history of mitral valve
repair were also not excluded from the study. Mitral valve repair rates are not known in
ROCKET AF, since information on mitral valve repair status was not specifically collected in
this study.
Drug Interactions
Interaction with strong inhibitors of both CYP 3A4 and P-gp
The use of XARELTO is contraindicated in patients receiving concomitant systemic treatment
with strong inhibitors of both CYP 3A4 and P-gp, such as ketoconazole, itraconazole,
posaconazole, or ritonavir. These drugs may increase XARELTO plasma concentrations to a
clinically relevant degree, ie, 2.6-fold on average, which increases bleeding risk.
Interaction with moderate CYP 3A4 inhibitors
The azole anti-mycotic, fluconazole, a moderate CYP 3A4 inhibitor, or erythromycin, have no
clinically relevant effect on rivaroxaban exposure (1.4-fold and 1.3-fold increase, respectively)
and may be co-administered with XARELTO in patients with normal renal function (see DRUG
INTERACTIONS).
The use of XARELTO in subjects with mild and moderate renal impairment concomitantly
treated with combined P-gp and moderate CYP 3A4 inhibitors such as erythromycin increased
exposure to rivaroxaban by 1.8- and 2.0-fold, respectively, compared to subjects with normal
renal function without comedication. If such use must be undertaken, caution is required.
Interaction with strong CYP 3A4 inducers
The concomitant use of XARELTO with strong inducers of CYP 3A4, such as rifampicin, and
the anticonvulsants, phenytoin, carbamazepine, phenobarbital, reduces rivaroxaban exposure (see
DRUG INTERACTIONS – Drug-Drug Interactions). Combined use of XARELTO with
strong inducers should generally be avoided, since efficacy of XARELTO may be compromised
(see DRUG INTERACTIONS – Drug-Drug Interactions).




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Hepatic Impairment
Patients with significant hepatic disease (eg, acute clinical hepatitis, chronic active hepatitis,
liver cirrhosis) were excluded from clinical trials. Therefore, XARELTO is contraindicated in
patients with hepatic disease (including Child-Pugh Class B and C) associated with
coagulopathy, and having clinically relevant bleeding risk.
The limited data available for patients with mild hepatic impairment without coagulopathy
indicate that there is no difference in pharmacodynamic response or pharmacokinetics as
compared to healthy subjects.
Surgery / Procedural Interventions
As with any anticoagulant, patients on XARELTO who undergo surgery or invasive procedures
are at increased risk for bleeding. In these circumstances, temporary discontinuation of
XARELTO may be required.
Limited clinical data are available for patients undergoing fracture-related surgery of the lower
limbs. These patients were from a subgroup which was not pre-specified for enrollment in an
international, non-interventional (no exclusion criteria), open label cohort study designed to
compare the incidence of symptomatic thromboembolic events in patients undergoing elective
hip or knee surgery while not randomly assigned to treatment with XARELTO or any local
standard-of-care pharmacological therapy.
Pre-Operative Phase
If an invasive procedure or surgical intervention is required, XARELTO should be stopped at
least 24 hours before the intervention, if possible, due to increased risk of bleeding, and based on
clinical judgment of the physician. If the procedure cannot be delayed, the increased risk of
bleeding should be assessed against the urgency of the intervention. Although there are limited
data, in patients at higher risk of bleeding or in major surgery where complete hemostasis may be
required, consider stopping XARELTO two to four days before surgery, depending on clinical
circumstances.
Peri-Operative Spinal/Epidural Anesthesia, Lumbar Puncture
When neuraxial (epidural/spinal) anesthesia or spinal puncture is performed, patients treated with
antithrombotics for prevention of thromboembolic complications are at risk for developing an
epidural or spinal hematoma that may result in long-term neurological injury or permanent
paralysis.
The risk of these events is even further increased by the use of indwelling epidural
catheters or the concomitant use of drugs affecting hemostasis. Accordingly, the use of
XARELTO, at doses greater than 10 mg, is not recommended in patients undergoing
anesthesia with post-operative indwelling epidural catheters. The risk may also be
increased by traumatic or repeated epidural or spinal puncture. If traumatic puncture
occurs, the administration of XARELTO should be delayed for 24 hours.
Patients who have undergone epidural puncture and who are receiving XARELTO should be
frequently monitored for signs and symptoms of neurological impairment (eg, numbness or
weakness of the legs, bowel or bladder dysfunction). If neurological deficits are noted, urgent
diagnosis and treatment is necessary.


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The physician should consider the potential benefit versus the risk before neuraxial intervention
in patients anticoagulated or to be anticoagulated for thromboprophylaxis and use XARELTO
only when the benefits clearly outweigh the possible risks. An epidural catheter should not be
withdrawn earlier than 18 hours after the last administration of XARELTO. XARELTO should
be administered not earlier than 6 hours after the removal of the catheter.
Post-Procedural Period
XARELTO should be restarted following an invasive procedure or surgical intervention as soon
as adequate hemostasis has been established and the clinical situation allows, in order to avoid
unnecessary increased risk of thrombosis.
Renal Impairment
Following oral dosing with XARELTO, there is a direct relationship between pharmacodynamic
effects and the degree of renal impairment (see ACTION AND CLINICAL
PHARMACOLOGY – Renal Insufficiency).
Determine estimated creatinine clearance (eCrCl) in all patients before instituting XARELTO
(see DOSAGE AND ADMINISTRATION).
XARELTO should be used with caution in patients with moderate renal impairment (CrCl 30-
49 mL/min), especially in those concomitantly receiving other drugs which increase rivaroxaban
plasma concentrations (see DOSAGE AND ADMINISTRATION – Renal Impairment, and
DRUG INTERACTIONS – Drug-Drug Interactions).
Physicians should consider the benefit/risk of anticoagulant therapy before administering
XARELTO to patients with moderate renal impairment having a creatinine clearance close to the
severe renal impairment category (CrCl < 30 mL/min), or in those with a potential to have
deterioration of renal function to severe impairment during therapy.
There are insufficient safety data in patients with severe renal impairment (CrCl < 30 mL/min) as
these patients were excluded from pivotal Phase III trials. Therefore, the use of XARELTO is
not recommended in patients with severe renal impairment. Patients who develop acute
renal failure while on XARELTO should discontinue such treatment.
Due to the high plasma protein binding, ie, about 95%, XARELTO is not expected to be
removed by dialysis.
Lactose Sensitivity
XARELTO contains lactose. Patients with rare hereditary problems of lactose or galactose
intolerance (eg, the Lapp lactase deficiency or glucose-galactose malabsorption) should not take
XARELTO.
Special Populations
Pregnant Women
No data are available on the use of XARELTO in pregnant women.
Based on animal data, use of XARELTO is contraindicated throughout pregnancy (see
CONTRAINDICATIONS, and TOXICOLOGY – Reproductive Toxicology and Lactation).
If XARELTO is to be used in women of childbearing potential, pregnancy should be avoided.

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Nursing Women
No data are available on the use of XARELTO in nursing mothers. In rats, XARELTO is
secreted into breast milk. Therefore, XARELTO should only be administered after breastfeeding
is discontinued (see CONTRAINDICATIONS, and TOXICOLOGY – Reproductive
Toxicology and Lactation).
Geriatrics (>65 Years of Age)
Increasing age is associated with declining renal function. Both of these factors have been
observed to result in increased systemic exposure to rivaroxaban, and consequently increased
bleeding (see WARNINGS AND PRECAUTIONS – Renal Impairment, and DOSAGE AND
ADMINISTRATION – Renal Impairment).
Use with caution in elderly patients, especially those taking concomitant medications that
increase systemic exposure of XARELTO (see WARNINGS AND PRECAUTIONS, Drug
Interactions, and DRUG INTERACTIONS).
Pediatrics (<18 Years of Age)
The safety and efficacy of XARELTO have not been established in children less than 18 years of
age. Therefore, XARELTO is not recommended in this patient population.
Monitoring and Laboratory Tests
The prothrombin time (PT), measured in seconds, is influenced by XARELTO in a dose-
dependent way with a close correlation to plasma concentration if the Neoplastin® reagent is
used. In patients who are bleeding, measuring the PT using the Neoplastin® reagent may be
useful to assist in determining an excess of anticoagulant activity (see DOSAGE AND
ADMINISTRATION – Considerations for INR Monitoring of VKA Activity during
Concomitant XARELTO Therapy).
Although XARELTO therapy will lead to an elevated INR, depending on the timing of the
measurement (see ACTION AND CLINICAL PHARMACOLOGY – Pharmacodynamics),
the INR is not a valid measure to assess the anticoagulant activity of XARELTO. The INR
is only calibrated and validated for VKA and should not be used for any other
anticoagulant, including XARELTO.
At recommended doses, XARELTO affects the measurement of the aPTT and Heptest®. These
tests are not recommended for the assessment of the pharmacodynamic effects of XARELTO
(see ACTION AND CLINICAL PHARMACOLOGY – Pharmacodynamics).
Converting patients from warfarin to XARELTO, or from XARELTO to warfarin, increases
prothrombin time by the Neoplastin® reagent in seconds (or INR values) more than additively
(eg, individual INR values up to 12 may be observed) during concomitant therapy, whereas
effects on aPTT and endogenous thrombin potential are additive (see ACTION AND
CLINICAL PHARMACOLOGY – Pharmacodynamics).
Anti-Factor-Xa activity is influenced by XARELTO in a dose-dependent fashion. If it is desired
to test the pharmacodynamic effects of XARELTO during the switching period, tests of anti-
Factor-Xa activity can be used as they are not affected by warfarin. Use of these tests to assess
the pharmacodynamic effects of XARELTO requires calibration and should not be done unless


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XARELTO-specific calibrators and controls are available (see ACTION AND CLINICAL
PHARMACOLOGY – Pharmacodynamics).
Although there is no need to monitor anticoagulation effect of XARELTO during routine clinical
practice, in certain infrequent situations such as overdosage, acute bleeding, urgent surgery, in
cases of suspected non-compliance, or in other unusual circumstances, assessment of the
anticoagulant effect of rivaroxaban may be appropriate. Accordingly, measuring PT using the
Neoplastin reagent, or Factor-Xa assay using rivaroxaban-specific calibrators and controls, may
be useful to inform clinical decisions in these circumstances.

ADVERSE REACTIONS
Prevention of VTE after THR or TKR
The safety of XARELTO (rivaroxaban) 10 mg has been evaluated in three randomized, double-
blind, active-control Phase III studies (RECORD 1, RECORD 2, and RECORD 3). In the
Phase III studies, 4657 patients undergoing total hip replacement or total knee replacement
surgery were randomized to XARELTO, with 4571 patients actually receiving XARELTO.
In RECORD 1 and 2, a total of 2209 and 1228 THR patients, respectively, were randomized to
XARELTO 10 mg od. In RECORD 1, the treatment period for both groups was 35±4 days
postoperatively. In RECORD 2, patients randomized to XARELTO were treated for 35 ±4 days
postoperatively, and patients randomized to enoxaparin received placebo after day 12±2 until
day 35±4 postoperatively. In RECORD 3, a total of 1220 TKR patients were randomized to
XARELTO 10 mg od, and both groups received study drug until day 12±2 postoperatively.
Treatment of VTE and Prevention of Recurrent DVT and PE
The safety of XARELTO has been evaluated in three phase III trials with 4556 patients treated
up to 21 months and exposed to either 15 mg XARELTO twice daily for 3 weeks followed by
20 mg once daily (EINSTEIN DVT, EINSTEIN PE) or 20 mg once daily (EINSTEIN
Extension). The mean treatment duration was 194 days in EINSTEIN DVT, 183 days in
EINSTEIN PE and 188 days in EINSTEIN Extension.
The incidence of adverse events resulting in permanent discontinuation of study drug was 5.0%
for XARELTO and 4.4% for enoxaparin/VKA (pooled data from EINSTEIN DVT and
EINSTEIN PE), and 6.5% for XARELTO and 3.4% for placebo (EINSTEIN Extension).
Prevention of Stroke and Systemic Embolism in Patients with Atrial Fibrillation (SPAF)
In the pivotal double-blind ROCKET AF study, a total of 14,264 patients with atrial fibrillation
at risk for stroke and systemic embolism were randomly assigned to treatment with either
rivaroxaban (7,131) or warfarin (7,133) in 45 countries. Patients received XARELTO 20 mg
orally once daily (15 mg orally once daily in patients with moderate renal impairment
[CrCl: 30-49 mL/min]) or dose-adjusted warfarin titrated to a target INR of 2.0 to 3.0. The safety
population included patients who were randomized and took at least 1 dose of study medication.
In total, 14,236 patients were included in the safety population, with 7,111 and 7,125 patients in
rivaroxaban and warfarin groups, respectively. The median time on treatment was 19 months and
overall treatment duration was up to 41 months.
The incidence of adverse events resulting in permanent discontinuation of study drug was 15.8%
in the rivaroxaban group and 15.2% in the warfarin group.

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Bleeding
Due to the pharmacological mode of action, XARELTO is associated with an increased risk of
occult or overt bleeding from any tissue and organ (see WARNINGS AND PRECAUTIONS –
Bleeding, and Drug Interactions). The risk of bleeding may be increased in certain patient
groups, eg, patients with uncontrolled severe arterial hypertension and/or on concomitant
medication affecting hemostasis (see Table 2). The signs, symptoms, and severity (including
fatal outcome) will vary according to the location and degree or extent of the bleeding and/or
anemia. Hemorrhagic complications may present as weakness, paleness, dizziness, headache or
unexplained swelling, dyspnea, and unexplained shock. In some cases as a consequence of
anemia, symptoms of cardiac ischemia like chest pain or angina pectoris have been observed.
Known complications secondary to severe bleeding such as compartment syndrome and renal
failure due to hypoperfusion have been reported for XARELTO. Therefore, the possibility of a
hemorrhage should be considered in evaluating the medical condition in any anticoagulated
patient.
Major or severe bleeding may occur and, regardless of location, may lead to disabling, life-
threatening or even fatal outcomes.
Since the adverse event profiles of the patient populations treated with XARELTO for different
indications are not interchangeable, a summary description of major and total bleeding is
provided by indication, in Table 3 for VTE prevention in patients undergoing elective THR or
TKR surgery, in Table 4 for Treatment of VTE and prevention of recurrent DVT and PE, and in
Table 5 for stroke prevention in atrial fibrillation.

Table 3 - RECORD 1, 2, and 3 – Treatment-Emergent Bleeding Events (Safety Population with Central
Adjudication) in Patients Randomized to XARELTO (First Dose 6 to 8 Hours Postoperatively) or Enoxaparin
(First Dose 12 Hours Preoperatively)

                                          Major       Major Bleeding Including Surgical     Any Bleeding
                                         Bleedinga   Site Bleeding Events Associated With    (Major or
                                          n (%)       Hemoglobin Drops or Transfusions       Nonmajor)
                                                                     n (%)                     n (%)
RECORD 1    XARELTO (N=2209)               6 (0.3)               40 (1.8)                    133 (6.0)
(THR)       10 mg od po for 35±4 days
            Enoxaparin (N=2224)            2 (0.1)              33 (1.5)                     131 (5.9)
            40 mg od SC for 36±4 days
            P-Value                        0.18                  0.41                          0.90
RECORD 2    XARELTO (N=1228)               1 (0.1)              23 (1.9)                      81 (6.6)
(THR)       10 mg od po for 35±4 days
            Enoxaparin (N=1229)            1 (0.1)              19 (1.6)                      68 (5.5)
            40 mg od SC for 12±2 days
            P-Value                        1.00                  0.54                          0.273
RECORD 3    XARELTO (N=1220)               7 (0.6)              21 (1.7)                      60 (4.9)
(TKR)       10 mg od po for 12±2 days
            Enoxaparin (N=1239)            6 (0.5)              17 (1.4)                      60 (4.8)
            40 mg od SC for 13±2 days
            P-Value                        0.79                  0.52                          1.00




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Table 3 - RECORD 1, 2, and 3 – Treatment-Emergent Bleeding Events (Safety Population with Central
Adjudication) in Patients Randomized to XARELTO (First Dose 6 to 8 Hours Postoperatively) or Enoxaparin
(First Dose 12 Hours Preoperatively)

                                                Major          Major Bleeding Including Surgical        Any Bleeding
                                               Bleedinga      Site Bleeding Events Associated With       (Major or
                                                n (%)          Hemoglobin Drops or Transfusions          Nonmajor)
                                                                              n (%)                        n (%)
Pooled        XARELTO (N=4657)                  14 (0.3)                  84 (1.8)                       274 (5.9)
Analysis      Enoxaparin (N=4692)                9 (0.2)                  69 (1.5)                       259 (5.5)
(RECORD       40 mg od SC
1, 2, 3)
              P-Value                             0.31                     0.22                             0.48
a   Major bleeding events included: (1) fatal, (2) bleeding into a critical organ (eg, retroperitoneal, intracranial,
    intraocular or intraspinal bleeding/hemorrhagic puncture), (3) bleeding requiring reoperation, (4) clinically overt
    extra-surgical site bleeding associated with ≥2 g/dL fall in hemoglobin or leading to infusion of ≥2 units of
    whole blood or packed cells.
See Table 17 and Table 19 for additional details.
od = once daily, po = oral, SC = subcutaneous


Table 4 - Treatment-Emergent Bleeding Events and Results – Safety Population with Central
Adjudication - Pooled Analysis, EINSTEIN DVT, EINSTEIN PE
                                       Pooled EINSTEIN DVT and EINSTEIN PE                 EINSTEIN Extension
          Bleeding event               XARELTO      Enox/VKA          HR                   20 mg od  Placebo
                                          N=4130      N=4116       (95%CI)                  N=598     N=590
                                                                 P-value for
                                                                 superiority
                                           n (%)       n (%)                                 n (%)          n (%)
Major and Clinically Relevant           388 (9.4%)  412 (10.0%)       0.93                  36 (6.0)        7 (1.2)
Non-major Bleedinga                                               (0.81-1.06)
                                                                    P=0.27
Major bleedingb                          40 (1.0%)   72 (1.7%)        0.54                  4 (0.7)b          0
                                                                  (0.37-0.80)
                                                                  P=0.0018*
   Fatal Bleeding                       3 (<0.1%)     8 (0.2%)          -                       0             0
       Intracranial                     2 (<0.1%)    4 (<0.1%)          -                       0             0
   Non-Fatal Critical Organ              10 (0.2%)   29 (0.7%)          -                       0             0
   Bleeding
       Intracranial                     3 (<0.1%)          10 (0.2%)              -             0             0
   Non-Fatal Non-Critical Organ         27 (0.7%)          37 (0.9%)              -             4             0
   Bleeding (Fall in Hb ≥ 2 g/dL
   and/or Transfusions ≥ 2 Units
       Gastrointestinal                 12 (0.3%)           20 (0.5%)            -                3            0
Clinically Relevant Non-Major          357 (8.6%)          357 (8.7%)         0.99           32 (5.4)b      7 (1.2)
Bleeding                                                                  (0.85-1.14)
                                                                            P=0.84
a    Primary safety outcome for Pooled EINSTEIN DVT and EINSTEIN PE.
b    Primary safety outcome for EINSTEIN Extension. Major bleeding event was defined as overt bleeding
     associated with a fall in hemoglobin of 2 g/dL or more; or leading to a transfusion of 2 or more units of
     packed red blood cells or whole blood; or that occurred in a critical site: intracranial, intraocular,
     pericardial, intra-articular, intramuscular with compartment syndrome, retroperitoneal; or contributing to
     death. In EINSTEIN Extension, some patients had more than one event.
See Table 3 for definition of other footnotes.


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Clinically relevant non-major bleeding pooled from both EINSTEIN DVT and EINSTEIN PE
from a mucosal site occurred in 7.2 % of patients in the XARELTO group and 6.0 % of subjects
in the enoxaparin/VKA group. Major bleeding from a mucosal site was observed in 0.6 % of the
XARELTO group and 0.7 % of the enoxaparin/VKA group.

 Table 5 – ROCKET AF –Time to the First Occurrence of Bleeding Events While on Treatment (up to Last
 Dose Plus 2 Days) - Safety Analysis

                                                 XARELTO            Warfarin
                                                 n (%/year)        n (%/year)     HR (95% CI); P-value
 Major and Non-major Clinically Relevant         1475 (14.91)      1449 (14.52)   1.03 (0.96,1.11); 0.442
 Bleeding
 Major Bleedinga                                  395 (3.60)        386 (3.45)    1.04 (0.90,1.20); 0.576
   Hemoglobin Drop                                305 (2.77)        254 (2.26)    1.22 (1.03,1.44); 0.019*
   Transfusion (> 2 units)                        183 (1.65)        149 (1.32)    1.25 (1.01,1.55); 0.044*
   Critical Organ Bleed                            91 (0.82)        133 (1.18)    0.69 (0.53,0.91); 0.007*
       Intracranial Hemorrhage                     55 (0.49)         84 (0.74)    0.67 (0.47, 0.94); 0.019*
   Fatal Bleed                                     27 (0.24)         55 (0.48)    0.50 (0.31,0.79); 0.003*
 Non-major Clinically Relevant Bleeding          1185 (11.80)      1151 (11.37)   1.04 (0.96,1.13); 0.345
 a    See Table 3 and Table 4 for definition of other footnotes.
 *    Statistically significant at nominal 0.05 (two-sided)
 See Table 25, Table 29, and Table 31 for additional details.


Mucosal major bleeding was more common in the XARELTO group (2.4%/year) as compared to
the warfarin group (1.6%/year; HR 1.52 (1.25, 1.83) P < 0.001). Most of the mucosal major
bleeding was from a gastrointestinal site.
Intracranial hemorrhage and upper gastrointestinal hemorrhage resulting in death were observed
in 24/55 (43.6%) and 1/204 (0.5%) XARELTO patients who experienced these adverse events,
respectively, compared to 42/84 (50.0%) and 3/125 (2.4%) warfarin patients who experienced
these same events, respectively.
Clinical Trial Adverse Drug Reactions
Because clinical trials are conducted under very specific conditions, the adverse reaction rates
observed in the clinical trials may not reflect the rates observed in practice and should not be
compared to the rates in the clinical trials of another drug. Adverse drug reaction information
from clinical trials is useful for identifying drug-related adverse events and for approximating
rates.
The most common treatment-emergent adverse events in the three Phase III studies for VTE
prevention in elective THR and TKR surgery are presented below in Table 6.




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 Table 6 – Treatment-Emergent Adverse Drug Reactions Occurring in >1% of Any Treatment Group –
 Pooled Data of RECORD 1, 2, 3 – (Patients Valid for Safety Analysisa)
                                                                      XARELTO                   Enoxaparin
                                                                       (N=4571)                  (N=4601)
                                                                     n         (%)             n        (%)
 Blood and lymphatic system disorders
 Thrombocythemia (including platelet count increased)                 77         (1.68)        86         (1.87)
 Gastrointestinal disorders
 Nausea                                                              402         (8.79)       402         (8.74)
 Diarrhea                                                            101         (2.21)       134         (2.91)
 Abdominal and gastrointestinal pain (including upper                 88         (1.93)        88         (1.91)
 abdominal pain, stomach discomfort)
 Dyspepsia (including epigastric discomfort)                          40         (0.88)        49         (1.06)
 Vomiting                                                            371         (8.12)       392         (8.52)
 Constipation                                                        293         (6.41)       319         (6.93)
 General Disorders and Administration Site Conditions
 Fever                                                               420         (9.19)       427         (9.28)
 Decreased general strength and energy (including asthenia,           56         (1.23)        45         (0.98)
 fatigue)
 Edema peripheral                                                    190         (4.16)       160         (3.48)
 Injury, poisoning, and post-procedural complications
 Anemia (including laboratory parameter)                             263         (5.75)       292         (6.35)
 Post procedural hemorrhage                                          200         (4.38)       192         (4.17)
 Wound secretion                                                     125         (2.73)        92         (2.00)
 Investigations
 Increase in LDH                                                      37         (0.81)        49         (1.06)
 Increase in transaminases                                           123         (2.69)        190        (4.13)
 Increase in Gamma-glutamyltransferase                                74         (1.62)       121         (2.63)
 Increase in alkaline phosphatase                                     35         (0.77)        56         (1.22)
 Musculoskeletal, Connective Tissue, and Bone Disorders
 Pain in extremity                                                    74         (1.62)        55         (1.20)
 Nervous System Disorders
 Dizziness                                                           149         (3.26)       142         (3.09)
 Headache                                                            105         (2.30)        96         (2.09)
 Syncope (including loss of consciousness)                            71         (1.55)        37         (0.80)
 Skin and subcutaneous tissue disorders
 Pruritus (including uncommon cases of generalized pruritus)          97         (2.12)        73         (1.59)
 Rash                                                                 56         (1.23)        57         (1.24)
 Vascular disorders
 Hypotension (including blood pressure decreased)                    146         (3.19)       147         (3.19)
 Haematoma                                                            47         (1.03)        53         (1.15)
 Note: Incidence = number of events/number at risk, where: number of events = number of patients reporting
          the event; number at risk = number of patients in reference population
          Only treatment emergent adverse events which occurred up to 2 days after the last dose of study
          medication are included.
 a     Started after administration of oral study medication (XARELTO or matching placebo tablet).


The most common treatment-emergent adverse events reported by patients valid for safety
analysis in the 3 phase III studies for treatment of VTE and prevention of recurrent DVT and PE
are presented in Table 7.



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Table 7 - Treatment-Emergent Adverse Reactions occurring in >1% of Any Treatment Group – pooled
EINSTEIN DVT (11702 DVT) and EINSTEIN PE (11702 PE); EINSTEIN Extension (11899) - Safety
Analysis
                                 Pooled EINSTEIN DVT and EINSTEIN PE        EINSTEIN Extension
                                     XARELTO       ENOXAPARIN/VKA         XARELTO      Placebo
                                      (N=4130)           (N=4116)          (N=598)     (N=590)
                                        n (%)              n (%)            n (%)        n (%)
Blood and lymphatic system
disorders
    Anemia                           84 (2.03%)          62 (1.51%)        4 (0.67%)      2 (0.34%)
Cardiac disorder
    Tachycardia                      55 (1.33%)          43 (1.04%)        2 (0.33%)          0
Eye disorders
    Conjunctival hemorrhage          39 (0.94%)          47 (1.14%)        6 (1.00%)          0
Gastrointestinal disorders
    Gingival bleeding                93 (2.25%)         104 (2.53%)        11 (1.84%)     2 (0.34%)
    Rectal hemorrhage                90 (2.18%)          56 (1.36%)         4 (0.67%)     4 (0.68%)
    Abdominal pain                   69 (1.67%)          53 (1.29%)        2 (0.33%)      7 (1.19%)
    Abdominal pain upper             71 (1.72%)          50 (1.21%)        10 (1.67%)     1 (0.17%)
    Constipation                    187 (4.53%)         174 (4.23%)         6 (1.00%)     5 (0.85%)
    Diarrhea                        179 (4.33%)         164 (3.98%)         7 (1.17%)     8 (1.36%)
    Dyspepsia                        60 (1.45%)          54 (1.31%)        8 (1.34%)      4 (0.68%)
    Nausea                          153 (3.70%)         160 (3.89%)         7 (1.17%)     6 (1.02%)
    Vomiting                         69 (1.67%)         96 (2.33%)         3 (0.50%)      6 (1.02%)
General disorders and
administration site conditions
    Pyrexia                         111 (2.69%)         108 (2.62%)        5 (0.84%)     7 (1.19%)
    Edema peripheral                128 (3.10%)         135 (3.28%)        13 (2.17%)    17 (2.88%)
    Asthenia                         61 (1.48%)          60 (1.46%)        4 (0.67%)     6 (1.02%)
    Fatigue                         90 (2.18 %)          68 (1.65%)        6 (1.00%)     3 (0.51%)
Injury, poisoning and post-
procedural complications
    Wound hemorrhage                 59 (1.43%)          65 (1.58%)        11 (1.84%)    7 (1.19 %)
    Contusion                       145 (3.51%)         197 (4.79%)        19 (3.18%)    16 (2.71%)
    Subcutaneous hematoma            44 (1.07%)          61 (1.48%)             0         2 (0.34%)
Investigations
    Alanine aminotransferase        72 (1.74 %)         129 (3.13 %)       2 (0.33%)      4 (0.68%)
    increased
    Aspartate aminotransferase       32 (0.77%)          44 (1.07%)        4 (0.67%)      3 (0.51%)
    increased
Musculoskeletal, connective
tissue and bone disorders
    Pain in extremity               230 (5.57%)         221 (5.37%)        29 (4.85%)    35 (5.93%)
Nervous system disorders
    Headache                        284 (6.88%)         242 (5.88%)        18 (3.01%)    15 (2.54%)
    Dizziness                       102 (2.47%)         108 (2.62%)        6 (1.00%)     8 (1.36 %)
Renal and urinary disorders
    Hematuria                       111 (2.69%)         113 (2.75%)        13 (2.17%)     2 (0.34%)
Reproductive system and
breast disorders
    Menorrhagiaa                    122 (2.95%)          64 (1.55%)        5 (0.84%)      2 (0.34%)
    Vaginal hemorrhage               54 (1.31%)          23 (0.56%)        1 (0.17%)      5 (0.85%)




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Table 7 - Treatment-Emergent Adverse Reactions occurring in >1% of Any Treatment Group – pooled
EINSTEIN DVT (11702 DVT) and EINSTEIN PE (11702 PE); EINSTEIN Extension (11899) - Safety
Analysis
                                  Pooled EINSTEIN DVT and EINSTEIN PE                  EINSTEIN Extension
                                      XARELTO       ENOXAPARIN/VKA                   XARELTO      Placebo
                                       (N=4130)           (N=4116)                    (N=598)     (N=590)
                                         n (%)              n (%)                      n (%)        n (%)
Respiratory, thoracic and
mediastinal disorders
   Epistaxis                               307 (7.43%)           271 (6.58%)         24 (4.01%)       11 (1.86%)
   Hemoptysis                              100 (2.42%)            98 (2.38%)          1 (0.17%)        1 (0.17%)
Skin and subcutaneous tissue
disorders
   Pruritus                                83 (2.01 %)            58 (1.41%)         2 (0.33 %)        2 (0.34%)
   Rash                                     97 (2.35%)           89 (2.16 %)          5 (0.84%)        7 (1.19%)
Vascular disorders
   Hematoma                                 91 (2.20%)           150 (3.64%)          7 (1.17%)        8 (1.36%)
NB: - Percentages calculated with the number of subjects in each group as denominator
     - Incidence is based on number of subjects, not number of events
     - Treatment-Emergent (pooled EINSTEIN DVT and EINSTEIN PE) = events that start after randomization and
     up to 2 days after the last dose of study medication
     - Treatment-Emergent (EINSTEIN Extension) = events that start on or after the first dose of study medication
     and up to 2 days after the last dose of study medication
a    Observed as very common for rivaroxaban in women <55 years in pooled 11702 DVT and 11702 PE studies


The most common identified treatment-emergent adverse drug reactions in the pivotal Phase III
study, ROCKET AF, for prevention of stroke and systemic embolism in patients with atrial
fibrillation are presented in Table 8.

 Table 8 – Treatment-Emergent Adverse Reactions Occurring in >1% of Any Treatment Group –
 ROCKET AF - Safety Analysis
                                                                  XARELTO                       Warfarin
                                                                    (N=7111)                    (N=7125)
                                                                  n         (%)             n              (%)
 Blood and lymphatic system disorders
    Anemia                                                       219        (3.08)         143         (2.01)
 Eye disorders
    Conjunctival hemorrhage                                      104        (1.46)         151         (2.12)
 Gastrointestinal disorders
    Diarrhea                                                     379        (5.33)         397         (5.57)
    Gingival bleeding                                            263        (3.70)         155         (2.18)
    Nausea                                                       194        (2.73)         153         (2.15)
    Rectal hemorrhage                                            149        (2.10)         102         (1.43)
    Abdominal pain upper                                         127        (1.79)         120         (1.68)
    Vomiting                                                     114        (1.60)         111         (1.56)
    Dyspepsia                                                    111        (1.56)          91         (1.28)
    Abdominal pain                                               107        (1.50)         118         (1.66)
    Gastrointestinal hemorrhage                                  100        (1.41)          70         (0.98)




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 Table 8 – Treatment-Emergent Adverse Reactions Occurring in >1% of Any Treatment Group –
 ROCKET AF - Safety Analysis
                                                                     XARELTO                      Warfarin
                                                                       (N=7111)                   (N=7125)
                                                                     n         (%)             n            (%)
 General Disorders and Administration Site Conditions
    Edema peripheral                                                435          (6.12)       444          (6.23)
    Fatigue                                                         223          (3.14)       221          (3.10)
    Asthenia                                                        125          (1.76)       106          (1.49)
    Pyrexia                                                          72          (1.01)        87          (1.22)
 Injury, poisoning and post-procedural complications
    Contusion                                                       196          (2.76)       291          (4.08)
 Investigations
    Alanine aminotransferase increased                              144          (2.03)       112          (1.57)
 Musculoskeletal, Connective Tissue, and Bone Disorders
    Pain in extremity                                               191          (2.69)       208          (2.92)
 Nervous System Disorders
    Dizziness                                                       433          (6.09)       449          (6.30)
    Headache                                                        324          (4.56)       363          (5.09)
    Syncope                                                         130          (1.83)       108          (1.52)
 Renal and urinary disorders
    Hematuria                                                       296          (4.16)       242          (3.40)
 Respiratory tract disorders
    Epistaxis                                                       721         (10.14)       609          (8.55)
    Hemoptysis                                                       99          (1.39)       100          (1.40)
 Skin and subcutaneous tissue disorders
    Ecchymosis                                                      159          (2.24)       234          (3.28)
    Pruritus                                                        120          (1.69)       118          (1.66)
    Rash                                                            112          (1.58)       129          (1.81)
 Vascular disorders
    Hematoma                                                        216          (3.04)       330          (4.63)
    Hypotension                                                     141          (1.98)       130          (1.82)
 NB: Incidence is based on number of subjects, not number of events
      Treatment-Emergent = events that start on or after the first dose of study medication and up to 2 days after
      the last dose of study medication


Less Common Clinical Trial Adverse Drug Reactions
Incidence is ≥0.1% to <1% unless specified.
VTE Prevention in Elective THR and TKR Surgery
Cardiac Disorders: tachycardia
Gastrointestinal Disorders: dry mouth, gastrointestinal tract hemorrhage (including gingival
bleeding, rectal hemorrhage, hematemesis)
General Disorders and Administration Site Conditions: feeling unwell (including malaise),
localized edema
Hepatobiliary Disorders: abnormal hepatic function (≥0.01% to <0.1%)




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Immune System Disorders: hypersensitivity, anaphylaxis, allergic edema and angioedema,
dermatitis allergic
Investigations: bilirubin conjugated increased (with or without concomitant increase of ALT)
(≥0.01% to <0.1%), blood bilirubin increased, increased amylase, increased lipase
Renal and Urinary Disorders: renal impairment (including serum creatinine increased, blood
urea increased)
Respiratory Tract Disorders: epistaxis
Skin and Subcutaneous Tissue Disorders: contusion, urticaria (including rare cases of
generalized urticaria)
Vascular Disorders: urogenital tract hemorrhage

Treatment of VTE and Prevention of Recurrent DVT and PE:
Incidence is ≥0.1% to <1% (pooled EINSTEIN DVT, EINSTEIN PE and EINSTEIN Extension)
unless specified. Patients rolled over from EINSTEIN DVT or EINSTEIN PE into EINSTEIN
Extension are considered as one patient (N=4556).
Cardiac disorder: tachycardia
Gastrointestinal Disorders: gastrointestinal hemorrhage, hematochezia, hemorrhoidal
hemorrhage, melena, mouth hemorrhage, abdominal discomfort, abdominal pain lower, dry
mouth
General Disorders and Administration Site Conditions: asthenia, feeling abnormal, malaise
Hepatobiliary Disorders: hepatic function abnormal
Immune System Disorders: hypersensitivity
Injury, poisoning and post-procedural complications: post-procedural hemorrhage, traumatic
hematoma, traumatic hemorrhage, subcutaneous haematoma
Investigations: hemoglobin decreased, aspartate aminotransferase increased, liver function test
abnormal, hepatic enzyme increased, transaminases increased, blood bilirubin increased,
bilirubin conjugated increased (with or without concomitant increase of ALT), gamma-glutamyl
transferase increased, blood alkaline phosphatase increased
Nervous System Disorders: syncope, cerebral and intra cranial haemorrhage (≥0.01% to
<0.1%)
Reproductive system and breast disorders: menometrorrhagia, metrorrhagia
Skin and Subcutaneous Tissue Disorders: urticaria, ecchymosis, skin hemorrhage, dermatitis
allergic (≥0.01% to <0.1%)
Vascular Disorders: hypotension
In other clinical studies with XARELTO, occurrences of vascular pseudoaneurysm formation
following percutaneous intervention have been observed. Very rare cases of adrenal hemorrhage
have been reported.


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Prevention of Stroke and Systemic Embolism in Patients with Atrial Fibrillation (SPAF)
Cardiac disorders: tachycardia
Eye disorders: eye hemorrhage, vitreous hemorrhage
Gastrointestinal Disorders: melena, upper gastrointestinal hemorrhage, hemorrhoidal
hemorrhage, hematochezia, mouth hemorrhage, lower gastrointestinal hemorrhage, anal
hemorrhage, gastric ulcer hemorrhage, gastritis hemorrhagic, gastric hemorrhage, hematemesis,
abdominal discomfort, abdominal pain lower, dry mouth
General Disorders and Administration Site Conditions: malaise
Hepatobiliary Disorders: hepatic function abnormal, hyperbilirubinemia, jaundice (≥0.01% to
<0.1%)
Immune System Disorders: hypersensitivity, anaphylaxis (≥0.01% to <0.1%), allergic edema
and angioedema
Injury, Poisoning, and Post-procedural Complications: post-procedural hemorrhage, wound
hemorrhage, traumatic hematoma, incision site hemorrhage, subdural hematoma, subcutaneous
hematoma, periorbital hematoma
Investigations: hemoglobin decreased, hematocrit decreased, blood bilirubin increased, liver
function test abnormal, aspartate aminotransferase increased, hepatic enzyme increased, blood
urine present, creatinine renal clearance decreased, blood creatinine increased, blood urea
increased, blood alkaline phosphatase increased, lipase increased, bilirubin conjugated increased
(with or without concomitant increase of ALT) (≥ 0.01% to < 0.1%)
Musculoskeletal, Connective Tissue, and Bone Disorders: hemarthrosis, muscle hemorrhage
(≥0.01% to <0.1%)
Nervous system disorders: loss of consciousness, hemorrhagic stroke, hemorrhage intracranial
Renal and urinary disorders: renal impairment
Reproductive system disorders: vaginal hemorrhage, metrorrhagia
Skin and Subcutaneous Tissue Disorders: dermatitis allergic, rash pruritic, rash
erythemateous, rash generalized, pruritus generalized, urticaria, skin hemorrhage
Vascular disorders: hemorrhage, bleeding varicose vein
Postmarketing Adverse Drug Reactions
The following adverse reactions have been identified during post-approval use of XARELTO.
Because these reactions are reported voluntarily from a population of uncertain size, it is not
always possible to reliably estimate their frequency or establish a causal relationship to drug
exposure.
Blood and the Lymphatic System Disorders: agranulocytosis, thrombocytopenia
Hepatobiliary Disorders: cholestasis, hepatitis (including hepatocellular injury)
Immune System Disorders: anaphylaxis, allergic edema and angioedema (with or without
urticaria)


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Skin and Subcutaneous Tissue Disorders: Stevens-Johnson syndrome
Abnormal Hematologic and Clinical Chemistry Findings
In Phase III clinical trials, in VTE prevention, Treatment of VTE and prevention of recurrent
DVT and PE, and SPAF the incidence of increases in transaminases in the XARELTO and
comparator arms were similar, see Table 6, Table 7, and Table 8 above.

DRUG INTERACTIONS
XARELTO (rivaroxaban) neither inhibits nor induces CYP 3A4 or any other major CYP
isoenzymes.
Concomitant use of drugs affecting hemostasis increases the risk of bleeding. Care should be
taken if patients are treated concomitantly with drugs affecting hemostasis such as nonsteroidal
anti-inflammatory drugs (NSAIDs), acetylsalicylic acid, and platelet aggregation inhibitors. Due
to the increased bleeding risk, generally avoid concomitant use with other anticoagulants (see
WARNINGS AND PRECAUTIONS – Bleeding).
Drug-Drug Interactions
The use of XARELTO is contraindicated in patients receiving concomitant systemic treatment
with strong inhibitors of both CYP 3A4 and P-gp such as ketoconazole, itraconazole,
posaconazole, or ritonavir). These drugs may increase XARELTO plasma concentrations to a
clinically relevant degree, ie, 2.6-fold on average, which may lead to bleeding. The azole anti-
mycotic, fluconazole, a moderate CYP 3A4 inhibitor, has less effect on rivaroxaban exposure
and may be co-administered with caution (see CONTRAINDICATIONS, and WARNINGS
AND PRECAUTIONS – Drug Interactions.
In the ROCKET AF clinical trial in patients with atrial fibrillation, no apparent increase in major
bleeding was observed in patients in whom amiodarone, a moderate CYP 3A4 inhibitor, was co-
administered with rivaroxaban.
Drugs strongly inhibiting only one of the XARELTO elimination pathways, either CYP 3A4 or
P-gp, are expected to increase XARELTO plasma concentrations to a lesser extent. The expected
increase is considered less clinically relevant, see Table 9.

Table 9 – Established or Potential Drug-Drug Interactions

 Concomitant Drug Reference                  Effect                         Clinical Comment
 Class: Drug Name
Azole antimycotic: CT       Co-administration of XARELTO with      The use of XARELTO is
                            the azole-antimycotic ketoconazole     contraindicated in patients receiving
  ketoconazole
                            (400 mg od) a strong CYP 3A4 and       systemic treatment with
                            P-gp inhibitor, led to a 2.6-fold      ketoconazole (see
                            increase in mean XARELTO steady        CONTRAINDICATIONS and
                            state AUC and a 1.7-fold increase in   WARNINGS AND PRECAUTIONS
                            mean XARELTO Cmax, with                – Drug Interactions and Renal
                            significant increases in its           Impairment).
                            pharmacodynamic effects.




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Table 9 – Established or Potential Drug-Drug Interactions

 Concomitant Drug Reference                   Effect                       Clinical Comment
 Class: Drug Name
  fluconazole       CT      Administration of the moderate        No dose adjustment is required.
                            CYP 3A4 inhibitor fluconazole
                            (400 mg once daily) led to a 1.4-fold
                            increase in mean XARELTO AUC and
                            a 1.3-fold increase in mean Cmax.
Protease inhibitor: CT      Co-administration of XARELTO with The use of XARELTO is
  ritonavir                 the HIV protease inhibitor ritonavir  contraindicated in patients receiving
                            (600 mg bid), a strong CYP 3A4 and systemic treatment with ritonavir
                            P-gp inhibitor, led to a 2.5-fold     (see CONTRAINDICATIONS and
                            increase in mean XARELTO AUC and WARNINGS AND PRECAUTIONS
                            a 1.6-fold increase in mean           – Drug Interactions and Renal
                            XARELTO Cmax, with significant        Impairment).
                            increases in its pharmacodynamic
                            effects.
Anti-infectives:     CT         Erythromycin (500 mg tid), which         No dose adjustment is required.
  erythromycin                  inhibits CYP 3A4 and P-gp
                                moderately, led to a 1.3-fold increase   For patients with renal impairment see
                                in mean XARELTO AUC and Cmax.            WARNINGS AND PRECAUTIONS
                                                                         – Drug Interactions and DETAILED
                                                                         PHARMACOLOGY – Special
                                                                         Populations and Conditions – Renal
                                                                         Insufficiency.
  clarithromycin     CT         Clarithromycin (500 mg bid),           The use of XARELTO in combination
                                considered a strong CYP 3A4 inhibitor with clarithromycin may increase the
                                and moderate P-gp inhibitor, led to a risk of bleeding particularly in patients
                                1.5-fold increase in mean rivaroxaban, with underlying disease conditions,
                                and a 1.4-fold increase in Cmax.       and elderly. Caution is required.
  rifampicin         CT         Co-administration of XARELTO with        Strong CYP 3A4 inducers should
                                the strong CYP 3A4 and P-gp inducer      generally be avoided in combination
                                rifampicin led to an approximate 50%     with XARELTO, as such use can be
                                decrease in mean XARELTO AUC,            expected to result in inadequate
                                with parallel decreases in its           anticoagulation.
                                pharmacodynamic effects.
Anticonvulsants:     T          The concomitant use of XARELTO           Strong CYP 3A4 inducers should
  phenytoin                     with strong CYP 3A4 inducers             generally be avoided in combination
  carbamazepine                 (eg, phenytoin, carbamazepine, or        with XARELTO, as such use can be
  phenobarbital                 phenobarbital) may also lead to a        expected to result in inadequate
                                decreased XARELTO plasma                 anticoagulation.
                                concentration.
Nonsteroidal Anti-   CT         Co-administration with naproxen did      Concomitant use with XARELTO may
inflammatory Drugs              not affect XARELTO bioavailability       increase the risk of bleeding. Promptly
(NSAID):                        and pharmacokinetics. No clinically      evaluate any signs or symptoms of
  naproxen                      relevant prolongation of bleeding time   blood loss (see WARNINGS AND
                                was observed when 500 mg naproxen        PRECAUTIONS – Drug
                                was pre-administered 24 hours before     Interactions).
                                concomitant administration of single
                                doses of XARELTO 15 mg and
                                naproxen 500 mg in healthy subjects.



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Table 9 – Established or Potential Drug-Drug Interactions

 Concomitant Drug Reference                  Effect                      Clinical Comment
 Class: Drug Name
  acetylsalicylic acid CT   No clinically significant          Concomitant use with XARELTO
  (ASA)                     pharmacokinetic or pharmacodynamic increases the risk of bleeding.
                            interactions were observed when    Promptly evaluate any signs or
                            500 mg ASA was pre-administered    symptoms of blood loss (see
                            24 hours before concomitant        WARNINGS AND PRECAUTIONS
                            administration of single doses of  – Drug Interactions).
                            XARELTO 15 mg and ASA 100 mg in
                            healthy subjects.                  For patients in the ROCKET AF trial,
                                                               concomitant ASA use (almost
                                                               exclusively at 100 mg or less) was
                                                               identified as an independent risk factor
                                                               for major bleeding with both
                                                               XARELTO and warfarin.
Antiplatelet drugs:   CT         In two drug interaction studies of 11   Concomitant use with XARELTO
  clopidogrel                    and 13 healthy subjects, clopidogrel    increases the risk of bleeding.
                                 300 mg was pre-administered 24 hours Promptly evaluate any signs or
                                 before concomitant administration of symptoms of blood loss (see
                                 single doses of XARELTO 15 mg and WARNINGS AND PRECAUTIONS
                                 clopidogrel 75 mg in healthy subjects. – Drug Interactions).
                                 Clopidogrel with or without
                                 XARELTO led to an approximately
                                 2-fold increase in the median bleeding
                                 time (normal range 2 - 8 minutes). In
                                 these studies, between 30% and 40%
                                 of subjects who received both
                                 XARELTO and clopidogrel had
                                 maximum bleeding times of up to
                                 45 minutes. XARELTO alone did not
                                 lead to a change in bleeding time at
                                 4 hours or 2 days after administration.
                                 There was no change in the
                                 pharmacokinetics of either drug.
Antithrombotic:       CT         After combined administration of          Co-administration of XARELTO at
   enoxaparin                    enoxaparin (40 mg single dose) with       doses ≥10 mg with other
                                 XARELTO (10 mg single dose), an           anticoagulants or antithrombotic
                                 additive effect on anti-Factor-Xa         therapy has not been adequately
                                 activity was observed, without any        studied in clinical trials. Due to the
                                 additional effects on clotting tests (PT, increased bleeding risk, generally
                                 aPTT). Enoxaparin did not affect the avoid concomitant use with other
                                 bioavailability and pharmacokinetics anticoagulants (see WARNINGS
                                 of XARELTO.                               AND PRECAUTIONS – Drug
                                                                           Interactions).
Legend: CT=Clinical Trial; T=Theoretical


No pharmacokinetic interaction was observed between warfarin and XARELTO.




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There were no mutual pharmacokinetic interactions observed between XARELTO and
midazolam (substrate of CYP 3A4), digoxin (substrate of P-gp), or atorvastatin (substrate of
CYP 3A4 and P-gp).
Co-administration of the proton pump inhibitor, omeprazole, the H2-receptor antagonist,
ranitidine, the antacid, aluminum hydroxide / magnesium hydroxide, or naproxen, clopidogrel, or
enoxaparin did not affect XARELTO bioavailability or pharmacokinetics.
Drug-Food Interactions
XARELTO 10 mg may be taken with or without food. XARELTO 15 mg and 20 mg should be
taken with food (see ACTION AND CLINICAL PHARMACOLOGY – Pharmacokinetics).
Grapefruit juice is a moderate CYP 3A4 inhibitor. Therefore, an increase in XARELTO
exposure following grapefruit juice consumption is not expected to be clinically relevant.
Drug-Herb Interactions
The concomitant use of XARELTO with strong CYP 3A4 inducers (eg, St. John’s Wort) may
lead to a decreased XARELTO plasma concentration. Strong CYP 3A4 inducers should
generally be avoided in combination with XARELTO, as such use can be expected to result in
inadequate anticoagulation.
Drug-Laboratory Interactions
Although various clotting parameter tests (PT, aPTT, Heptest®) are affected by the mode of
action of XARELTO, none of these clotting tests have been demonstrated to reliably assess the
anticoagulant activity of rivaroxaban following XARELTO administration under usual
conditions (see WARNINGS AND PRECAUTIONS – Monitoring and Laboratory Tests,
and ACTION AND CLINICAL PHARMACOLOGY – Pharmacodynamics).
The prothrombin time (PT), measured in seconds, is influenced by XARELTO in a dose-
dependent way with a close correlation to plasma concentrations if the Neoplastin® reagent is
used. In patients who are bleeding, measuring the PT (Neoplastin® reagent) in seconds, but not
INR, may be useful to assist in determining an excess of anticoagulant activity (see
WARNINGS AND PRECAUTIONS – Monitoring and Laboratory Tests).

DOSAGE AND ADMINISTRATION
As for any non-vitamin K antagonist oral anticoagulant (NOAC) drug, before initiating
XARELTO (rivaroxaban), ensure that the patient understands and is prepared to accept
adherence to NOAC therapy, as directed.
Determine estimated creatinine clearance (eCrCl) in all patients before instituting XARELTO
(rivaroxaban), and monitor renal function during XARELTO treatment, as clinically appropriate.
Determination of renal function by eCrCL should occur at least once per year, and especially
during circumstances when renal function may be expected to be compromised, ie, acute
myocardial infarction (AMI), acute decompensated heart failure (AHF), increased use of
diuretics, dehydration, hypovolemia, etc. Clinically relevant deterioration of renal function may
require dosage adjustment or discontinuation of XARELTO (see below, Renal Impairment).




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Glomerular filtration rate may be estimated by calculating eCrCl, using the Cockroft-Gault
formula:
eCrCl (mL/min)=

in males: (140-age) (years) x weight (kg) x 1.23     or,    _(140-age) (yrs) x weight (kg)
              serum creatinine (μmol/L)                     72 x serum creatinine (mg/100 mL)

in females: (140-age) (years) x weight (kg) x 1.04   or,    (140-age) (yrs) x weight (kg) x 0.85
              serum creatinine (μmol/L)                     72 x serum creatinine (mg/100 mL)
Recommended Dose and Dosage Adjustment
Prevention of VTE after THR or TKR
The recommended dose is one 10 mg tablet once daily. XARELTO 10 mg may be taken with or
without food. The initial dose should be taken within 6 to 10 hours after surgery, provided that
hemostasis has been established. If hemostasis is not established, treatment should be delayed.
The duration of administration depends on the type of surgery:
∀    After elective THR surgery, patients should be administered XARELTO for 35 days.
∀    After elective TKR surgery, patients should be administered XARELTO for 14 days.
Treatment of VTE and Prevention of recurrent DVT and PE
XARELTO is NOT recommended as an alternative to unfractionated heparin in patients
with acute pulmonary embolus who are haemodynamically unstable, or who may receive
thrombolysis or pulmonary embolectomy, since the safety and efficacy of XARELTO have
not been established in these clinical situations (see INDICATIONS AND CLINICAL
USE).
The recommended dose for the initial treatment of acute DVT or PE is 15 mg twice daily (one
tablet in the morning and one in the evening) for the first 3 weeks followed by 20 mg once daily
for the continued treatment and prevention of recurrent DVT and PE. The recommended
maximum daily dose is 30 mg during the first 3 weeks of treatment and 20 mg thereafter.
XARELTO 15 mg and 20 mg tablets should be taken with food.
The duration of therapy should be individualised after careful assessment of the treatment benefit
against the risk of bleeding. Short duration of therapy (at least 3 months) should be based on
transient risk factors (e.g. recent surgery, trauma, immobilisation) and extended duration should
be based on permanent risk factors or idiopathic DVT or PE.
Prevention of Stroke and Systemic Embolism in Patients with Atrial Fibrillation
The recommended dose is one 20 mg tablet of XARELTO taken once daily with food (see
ACTION AND CLINICAL PHARMACOLOGY – Pharmacokinetics, Absorption).
For patients with moderate renal impairment (CrCl 30 – 49 mL/min), the recommended dose is
15 mg once daily with food (see Renal Impairment below).
The recommended maximum daily dose is 20 mg.



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Acute myocardial infarction (AMI): Consideration should be given to discontinuing
XARELTO in the setting of acute myocardial infarction should the treatment of myocardial
infarction involve invasive procedures, such as percutaneous coronary revascularization, or
coronary artery bypass surgery. Similar consideration should be given if thrombolytic therapy is
to be initiated, because bleeding risk may increase. Patients with acute myocardial infarction
should be treated according to current clinical guidelines. In this setting, XARELTO may be
resumed, when deemed clinically appropriate, for the prevention of stroke and systemic
embolism upon completion of these revascularization procedures.
Concomitant use of ASA or clopidogrel with XARELTO in patients with atrial fibrillation
increases the risk of bleeding. Concomitant use of ASA or other antiplatelet agents based on
medical need to prevent myocardial infarction should be undertaken with caution. Close clinical
surveillance is recommended.
Other situations requiring thrombolytic therapy: XARELTO should be discontinued in
situations such as acute ischemic stroke where current clinical practice calls for administering
thrombolytic therapy. XARELTO treatment may be subsequently resumed as soon as is deemed
clinically appropriate. Measurement of a PT time, in seconds, using the Neoplastin reagent, may
inform therapeutic decision-making (see WARNINGS AND PRECAUTIONS – Monitoring
and Laboratory Tests).
Concomitant use with antiplatelet agents: The concomitant use of XARELTO with antiplatelet
agents increases the risk of bleeding (see WARNINGS AND PRECAUTIONS – Bleeding). If
concomitant antiplatelet therapy is contemplated for indications related to coronary artery
disease, a careful assessment of the potential risks should be made against potential benefits,
weighing risk of increased bleeding against expected benefit.
Cardioversion:
Patients can be maintained on XARELTO while being cardioverted (see ACTION AND
CLINICAL PHARMACOLOGY, Pharmacodynamics, Patients undergoing cardioversion).
Hepatic Impairment
XARELTO is contraindicated in patients with hepatic disease (including Child-Pugh Class B
and C) associated with coagulopathy, and having clinically relevant bleeding risk. Patients with
severe hepatic impairment or chronic hepatic disease were excluded from pivotal clinical trials.
The limited clinical data for patients with moderate hepatic impairment indicate a significant
increase in the pharmacological activity. XARELTO should be used with caution in these
patients (see CONTRAINDICATIONS – WARNINGS AND PRECAUTIONS – Hepatic
Impairment, and ACTION AND CLINICAL PHARMACOLOGY – Hepatic Insufficiency).
The limited data available for patients with mild hepatic impairment without coagulopathy
indicate that there is no difference in pharmacodynamic response or pharmacokinetics as
compared to healthy subjects.




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Renal Impairment

Table 10 – Dosage and Administration for Patients According to Renal Function
                     Creatinine
                     Clearance (CrCl)     Normal       Mild                Moderate               Severe
                                        >80 mL/min 50-80 mL/min          30-49 mL/min          < 30 mL/min
 Indication
Prevention of VTE After THR or TKR               10 mg od                  10 mg od
Treatment of VTE and Prevention of         15 mg bid for 3 weeks,    15 mg bid for 3 weeks,
                                                                                                XARELTO
Recurrent DVT and PE                       followed by 20 mg od      followed by 20 mg od
                                                                                                   is not
Prevention of Stroke and Systemic
                                                                                               recommended
Embolism in Patients with Atrial                 20 mg od                   15 mg od
Fibrillation
od=once daily, bid=twice daily


XARELTO should be used with caution in patients receiving other drugs which increase
rivaroxaban plasma concentrations. Physicians should consider the benefit/risk of anticoagulant
therapy before administering XARELTO to patients with moderate renal impairment with a
creatinine clearance close to the severe renal impairment category (CrCl <30 mL/min) or with a
potential to have deterioration of renal function during therapy. Renal function should be
followed carefully in these patients (see WARNINGS AND PRECAUTIONS – Renal
Impairment, and DRUG INTERACTIONS – Drug-Drug Interactions).
There are limited safety data in patients with severe renal impairment (CrCl <30 mL/min) as
these patients were excluded from pivotal Phase III trials.
Patients who develop acute renal failure while on XARELTO should discontinue such treatment.
XARELTO 15 mg and 20 mg tablets should be taken with food (see ACTION AND
CLINICAL PHARMACOLOGY – Pharmacokinetics, Absorption).
Gender, Race, or Body Weight
No dose adjustment is required (see ACTION AND CLINICAL PHARMACOLOGY –
Gender, Race, and Different Weight Categories).
Geriatrics (>65 years of age)
No dose adjustment is generally required for the elderly. Increasing age may be associated with
declining renal function (see WARNINGS AND PRECAUTIONS – Renal Impairment, and
DOSAGE AND ADMINISTRATION – Renal Impairment).
Pediatrics (<18 years of age)
The safety and efficacy of XARELTO have not been established in children less than 18 years of
age; therefore, XARELTO is not recommended in this patient population.




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Switching from Parenteral Anticoagulants to XARELTO
XARELTO can be started when the infusion of full-dose intravenous heparin is stopped or 0 to
2 hours before the next scheduled injection of full-dose subcutaneous low-molecular-weight
heparin (LMWH) or fondaparinux. In patients receiving prophylactic heparin, LMWH or
fondaparinux, XARELTO can be started 6 or more hours after the last prophylactic dose.
Switching from XARELTO to Parenteral Anticoagulants
Discontinue XARELTO and give the first dose of parenteral anticoagulant at the time that the
next XARELTO dose was scheduled to be taken.
Switching from Vitamin K Antagonists (VKA) to XARELTO
To switch from a VKA to XARELTO, stop the VKA and determine the INR. If the INR is ≤ 2.5,
start XARELTO at the usual dose. If the INR is > 2.5, delay the start of XARELTO until the
INR is ≤ 2.5 (see Considerations for INR Monitoring of VKA Activity during Concomitant
XARELTO Therapy).
Switching from XARELTO to a VKA
As with any short-acting anticoagulant, there is a potential for inadequate anticoagulation when
transitioning from XARELTO to a VKA. It is important to maintain an adequate level of
anticoagulation when transitioning patients from one anticoagulant to another.
XARELTO should be continued concurrently with the VKA until the INR is ≥ 2.0. For the first
2 days of the conversion period, the VKA can be given in the usual starting doses without INR
testing (see Considerations for INR Monitoring of VKA Activity during Concomitant
XARELTO Therapy). Thereafter, while on concomitant therapy, the INR should be tested just
prior to the next dose of XARELTO, as appropriate. XARELTO can be discontinued once the
INR is >2.0. Once XARELTO is discontinued, INR testing may be done at least 24 hours after
the last dose of XARELTO, and should then reliably reflect the anticoagulant effect of the VKA.
Considerations for INR Monitoring of VKA Activity during Concomitant XARELTO Therapy
In general, after starting VKA therapy, the initial anticoagulant effect is not readily apparent for
at least 2 days, while the full therapeutic effect is achieved in 5-7 days. Consequently, INR
monitoring in the first 2 days after starting a VKA is rarely necessary. Likewise, the INR may
remain increased for a number of days after stopping VKA therapy.
Although XARELTO therapy will lead to an elevated INR, depending on the timing of the
measurement (see ACTION AND CLINICAL PHARMACOLOGY – Pharmacodynamics),
the INR is not a valid measure to assess the anticoagulant activity of XARELTO. The INR is
only calibrated and validated for VKA and should not be used for any other anticoagulant,
including XARELTO.
When switching patients from XARELTO to a VKA, the INR should only be used to assess the
anticoagulant effect of the VKA, and not that of XARELTO. Therefore, while patients are
concurrently receiving XARELTO and VKA therapy, if the INR is to be tested, it should not be
before 24 hours after the previous dose of XARELTO, and should be just prior to the next dose
of XARELTO, since at this time the remaining XARELTO concentration in the circulation is too
low to have a clinically important effect on the INR. If INR testing is done earlier than just prior
to the next dose of XARELTO, the reported INR will not reflect the anticoagulation effect of the

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VKA only, because XARELTO use may also affect the INR, leading to aberrant readings (see
ACTION AND CLINICAL PHARMACOLOGY – Pharmacodynamics).
Missed Dose
It is essential to adhere to the dosage schedule provided.
   ∀   XARELTO 10 mg, 15 mg, or 20 mg tablets taken once a day:
       If a dose is missed, the patient should take XARELTO immediately and continue on the
       following day with the once daily intake as before. A double dose should not be taken to
       make up for a missed tablet.
   ∀   XARELTO 15 mg taken twice a day:
       If a dose is missed during the 15 mg twice daily treatment phase the patient should take
       the next dose immediately to ensure the intake of 30 mg total dose per day. In this case
       two 15 mg tablets may be taken at once. The following day the patient should continue
       with the regular 15 mg twice daily intake schedule as recommended.

OVERDOSAGE

 For management of suspected drug overdose, contact your regional Poison Control Centre.

Overdose following administration of XARELTO (rivaroxaban) may lead to hemorrhagic
complications due to its pharmacodynamic properties.
Rare cases of overdose up to 600 mg have been reported without bleeding complications or other
adverse reactions. No further increase in average plasma exposure is expected due to limited
absorption at supratherapeutic doses of 50 mg or above because of a solubility ceiling effect.
A specific antidote for XARELTO is not available. The use of activated charcoal to reduce
absorption in case of XARELTO overdose may be considered. Administration of activated
charcoal up to 8 hours after overdose may reduce the absorption of XARELTO.
Due to the high plasma protein binding, XARELTO is not expected to be removed by dialysis
(see ACTION AND CLINICAL PHARMACOLOGY – Pharmacokinetics, Distribution).
Management of Bleeding
In the event of hemorrhagic complications in a patient receiving XARELTO, treatment should be
temporarily discontinued, and the source of bleeding investigated. XARELTO has a half-life of
approximately 5 to 13 hours (see ACTION AND CLINICAL PHARMACOLOGY –
Pharmacokinetics). Consideration should be given to the resumption of antithrombotic therapy
when clinically appropriate to adequately control risk of underlying thrombosis.
Management of bleeding should be individualised according to the severity and location of the
hemorrhage. Appropriate symptomatic treatment should be used as needed, such as mechanical
compression (eg, for severe epistaxis), surgical hemostasis with bleeding control procedures,
fluid replacement and hemodynamic support, blood products (packed red cells or fresh frozen
plasma, depending on associated anemia or coagulopathy) or platelets.



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If bleeding cannot be controlled by the above measures, consider administration of one of the
following procoagulants:
∀    activated prothrombin complex concentrate (APCC), eg., FEIBA
∀    prothrombin complex concentrate (PCC)
∀    recombinant Factor-VIIa (rFVIIa)
However, there is currently only very limited experience with the use of these products in
individuals receiving XARELTO.
In a randomized, double-blind, placebo-controlled study, a non-activated prothrombin complex
concentrate (PCC) given to 6 healthy male subjects who had previously received XARELTO,
completely reversed its anticoagulant effect within 15 minutes, based on coagulation tests.
Although this study may have important clinical implications, this effect of PCC has not yet been
confirmed in patients with active bleeding who have been previously treated with XARELTO.
Protamine sulfate and vitamin K are not expected to affect the anticoagulant activity of
XARELTO. There is limited experience with tranexamic acid and no experience with
aminocaproic acid and aprotinin in individuals receiving XARELTO. There is neither scientific
rationale for benefit or experience with the systemic hemostatic desmopressin in individuals
receiving XARELTO.
The prothrombin time (PT), measured in seconds, is influenced by XARELTO in a dose-
dependent way with a close correlation to plasma concentrations if the Neoplastin® reagent is
used. In patients who are bleeding, measuring the PT (Neoplastin® reagent) may be useful to
assist in determining an excess of anticoagulant activity. INR should NOT be used to assess the
anticoagulant effect of XARELTO (see WARNINGS AND PRECAUTIONS – Monitoring
and Laboratory Tests, and ACTION AND CLINICAL PHARMACOLOGY –
Pharmacodynamics).

ACTION AND CLINICAL PHARMACOLOGY
Mechanism of Action
XARELTO (rivaroxaban) is a highly selective, direct, antithrombin independent Factor-Xa
inhibitor with high oral bioavailability.
Activation of Factor-X to Factor-Xa (FXa) via the intrinsic and extrinsic pathway plays a central
role in the cascade of blood coagulation. FXa directly converts prothrombin to thrombin through
the prothrombinase complex and, ultimately, this reaction leads to fibrin clot formation and
activation of platelets by thrombin. One molecule of FXa is able to generate more than
1000 molecules of thrombin due to the amplification nature of the coagulation cascade. In
addition, the reaction rate of prothrombinase-bound FXa increases 300,000-fold compared to that
of free FXa and causes an explosive burst of thrombin generation. Selective inhibitors of FXa
can terminate the amplified burst of thrombin generation, thereby diminishing thrombin-
mediated activation of coagulation.
Pharmacodynamics
There is a clear correlation between plasma rivaroxaban concentration and the degree of
anticoagulant effect. The maximal effect (Emax) of rivaroxaban on pharmacodynamic parameters
occurs at the same time as Cmax.

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∀    A dose-dependent inhibition of Factor-Xa (FXa) activity was observed over the complete
     dose range closely following the pharmacokinetic profiles which provides the ‘proof of
     mechanism’ in humans. Inhibition of FXa activity versus rivaroxaban plasma concentration
     follows a maximum effect (Emax) model. There is a close correlation between FXa inhibition
     and plasma concentrations with an r value of 0.97.
     FXa assay tests require calibration and should not be used unless rivaroxaban-specific
     calibrators and controls are available.
∀    Prothrombin time (PT), measured in seconds, is influenced by rivaroxaban in a dose-
     dependent way with a close correlation to plasma concentrations (r = 0.98) if the Neoplastin®
     reagent is used. Other reagents would provide different results.
     Although XARELTO therapy will lead to an elevated INR, depending on the timing of the
     measurement, the INR is not a valid measure to assess the anticoagulant activity of
     XARELTO. The INR is only calibrated and validated for VKA and should not be used for
     any other anticoagulant (see WARNINGS AND PRECAUTIONS – Monitoring and
     Laboratory Tests).
     In patients who are bleeding, measuring the PT (Neoplastin® reagent) may be useful to assist
     in determining an excess of anticoagulant activity (see WARNINGS AND
     PRECAUTIONS – Monitoring and Laboratory Tests).
     Figure 1 and Figure 2 below show the relative measured effects of rivaroxaban 20 mg once
     daily for the PT test using the Neoplastin® reagent (Figure 1) and that expressed by the INR
     (Figure 2).

                               5

                               4
     PT relative to baseline




                               3

                               2

                               1

                               0
                                   0   24                 48                   72                   96                 120
                                            Hours relative to first administration of rivaroxaban
                                                                                                         Warfarin / Rivaroxaban
                                                                                                         Rivaroxaban


Figure 1: PT Prolongation (Neoplastin® reagent): Relative prolongation expressed as median of ratio to
baseline with warfarin / rivaroxaban treatment and rivaroxaban alone, following last day of warfarin
(Day -1) and 4 days of 20 mg rivaroxaban od, PD set, n=84




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                                 7

                                 6
      INR relative to baseline



                                 5

                                 4

                                 3
                                 2

                                 1
                                 0
                                     0     24                  48                    72             96                 120
                                            Hours relative to first administration of rivaroxaban
                                                                                                          Warfarin / Rivaroxaban
                                                                                                          Rivaroxaban alone


Figure 2: INR prolongation: Relative prolongation expressed as median of ratio to baseline with warfarin/
rivaroxaban treatment and rivaroxaban alone, following last day of warfarin (Day -1) and 4 days of 20 mg
rivaroxaban od, PK/PD set, n=84


The usual expected effect of XARELTO on PT when the Neoplastin® reagent is used is shown in
Table 11 below.

Table 11 – PT (Neoplastin® reagent) by Indication, Following XARELTO Administration
                  Indication             XARELTO    Plasma                          Plasma           Range of (5/95            Range of (5/95
                                          Dosage concentration                   concentration         percentile)              percentile)
                                                  Cmax (μg/ L)                   Ctrough (μg/L)     PT (Neoplastin®)          PT (Neoplastin®)
                                                                                                           Cmax                    Ctrough
Prevention of VTE       10 mg od                              101                       14          13 to 25 secondsa          12-17 secondsc
After THR or TKR                                           (7 – 273)a                (4 – 51)c
Treatment of VTE and 15 mg bid                                 ---                      ---         17 to 32 secondsa          14–24 secondsc
Prevention of           20 mg od                              215                       32          15 to 30 secondsa          13–20 secondsd
Recurrent DVT and                                          (22– 535)a                (6–239)d
PE
Prevention of Stroke in 15 mg od                 229                                    57          10 to 50 secondsb          12–26 secondse
Patients with Atrial                         (178 – 313)b                           (18 – 136)e
Fibrillation            20 mg od                 249                                    44          14 to 40 secondsb          11–26 secondse
                                             (184 – 343)b                           (12 – 137)e
a        2 to 4 hours after drug administration (tmax)
b        1 to 4 hours after drug administration (tmax)
c        8 to 16 hours after drug administration (tmin)
d        18 to 30 hours after drug administration (tmin)
e        16 to 32 hours after drug administration (tmin)


∀    The activated partial thomboplastin time (aPTT) is prolonged dose-dependently; however,
     the slope is rather flat and does not allow a sufficient discrimination at the relevant plasma
     concentrations. Therefore, aPTT is not considered to be adequate for following the
     pharmacodynamic effects. The r value for aPTT is 0.99.
∀    Heptest® is prolonged dose-dependently and correlates closely with plasma concentrations,

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   following a curvilinear model. Despite the r value of 0.99 for the relation to plasma
   concentrations, the Heptest® is not considered optimal to assess the pharmacodynamic effects
   due to the curvilinear relationship.
QT Prolongation
No QTc prolonging effects were observed in healthy men and women older than 50 years. The
treatment difference in QTcF 3 hours post-dose in comparison to placebo as well as QTcF, QTcI
and QT analyses at the time of tmax and for post-dose changes in mean and maximum QTcF did
not show any dose-related QTcF prolongation at both the 45 mg and the 15 mg dose of
rivaroxaban. All changes in LS-means, including their 95% CI, were below 5 milliseconds.
Patients undergoing cardioversion
A prospective, randomized, open-label, multicenter, exploratory study with blinded endpoint
evaluation (X-VeRT) was conducted in 1504 patients with non-valvular atrial fibrillation
scheduled for cardioversion to compare rivaroxaban with dose-adjusted VKA (randomized 2:1).
The rate of stroke occurring within 42 days of cardioversion was low and similar across
treatment groups, i.e., rivaroxaban (0.20%) and VKA (0.41%). The rate of major bleeding was
also low and similar across treatment groups, i.e., rivaroxaban (0.61%) and VKA (0.80%).
Pharmacokinetics
Absorption
The absolute bioavailability of rivaroxaban is approximately 100% for the 10 mg dose.
Rivaroxaban is rapidly absorbed with maximum concentrations (Cmax) appearing 2 to 4 hours
after tablet intake.
Intake with food does not affect rivaroxaban AUC or Cmax at the 10 mg dose. XARELTO 10 mg
tablets can be taken with or without food. Due to reduced extent of absorption an oral
bioavailability of 66% was determined for the 20 mg tablet under fasting conditions. When
XARELTO 20 mg tablets are taken together with food, increases in mean AUC by 39% were
observed when compared to tablet intake under fasting conditions, indicating almost complete
absorption and high oral bioavailability.
Under fed conditions, bioavailability of rivaroxaban 10 mg, 15 mg and 20 mg tablets
demonstrated dose-proportionality. XARELTO 15 mg and 20 mg tablets should be taken with
food (see DOSAGE AND ADMINISTRATION, and DETAILED PHARMACOLOGY –
Absorption and Bioavailability).
Rivaroxaban pharmacokinetic parameters behave in a linear fashion; no evidence of undue
accumulation beyond steady-state was seen after multiple doses.
Interindividual variability (CV%) of rivaroxaban pharmacokinetics ranges from 30% to 40%.
This may be increased on the day of surgery and on the following day when interindividual
variability is 70%.




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 Table 12 – Summary of PK Parameters After Oral Administration of 10 mg of Rivaroxaban in Humans
                      Cmax        t1/2       AUC             Clearance, Urinary         Volume of Distribution
                     [μg/L]       [h]      [μg*h/L]               Excretion
 Healthy (Young)    #114a      5-9        #817           CLsys = #10 L/h               Vss = #50 L
 Subjects                                                CLR = 3 – 4 L/h
                                                         Aeur = 30% - 40%
 Patients           #125       7-11       #1170          N/A (no IV data) b            N/A (no IV data)
                                                         Aeur = 22%
 a = 2 – 4 hours after drug administration (tmax)
 b = not available
 AUC = area under the plasma-concentration time curve; Aeur = amount of drug excreted unchanged into urine;
      CLsys = systemic clearance (after intravenous administration); CLR = renal clearance; Cmax = maximum
      plasma concentration; t1/2 = terminal elimination half-life; tmax = time to reach Cmax; Vss = volume of
      distribution at steady state


Distribution
Plasma protein binding in humans is high at approximately 92% to 95%, with serum albumin
being the main binding component. The volume of distribution is moderate with Vss being
approximately 50 L.
Metabolism
Rivaroxaban is eliminated by metabolic degradation (approximately 2/3 of the administered
dose) as well as by direct renal excretion of unchanged compound (approximately 1/3).
Rivaroxaban is metabolized via CYP 3A4, CYP 2J2, and CYP-independent mechanisms.
Oxidative degradation of the morpholinone moiety and hydrolysis of the amide bonds are the
major sites of biotransformation.
Excretion
Rivaroxaban and metabolites have a dual route of elimination (via renal and fecal routes).
The clearance and excretion of rivaroxaban are as follows:
∀    1/3 of the active drug is cleared as unchanged drug by the kidneys
∀    1/3 of the active drug is metabolized to inactive metabolites and then excreted by the kidneys
∀    1/3 of the active drug is metabolized to inactive metabolites and then excreted by the fecal
     route
Based on in vitro investigations, rivaroxaban is a substrate of the transporter proteins P-gp
(P-glycoprotein) and BCRP (breast cancer resistance protein).
Unchanged rivaroxaban is the most important compound in human plasma with no major or
active circulating metabolites being present. With a systemic clearance of about 10 L/h
rivaroxaban can be classified as low-clearance drug. Elimination of rivaroxaban from plasma
occurred with terminal half-lives of 5 to 9 hours in young individuals and with terminal half-
lives of 11 to 13 hours in the elderly.




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Geriatrics (>65 years of age)
Clinical studies have been conducted in older ages, with results of prolonged terminal half-lives
(11 to 13 hours in elderly versus 5 to 9 hours in young subjects) accompanied by increases of
XARELTO exposure (approximately 50%) compared to young healthy subjects. This difference
may be due to reduced renal function in the elderly (see CONTRAINDICATIONS,
WARNINGS AND PRECAUTIONS – Renal Impairment, and DOSAGE AND
ADMINISTRATION – Renal Impairment).
Gender
There were no clinically relevant differences in pharmacokinetics between male and female
patients (see DETAILED PHARMACOLOGY – Gender).
Race
No clinically relevant interethnic differences among Caucasian, African-American, Hispanic,
Japanese or Chinese patients were observed regarding pharmacokinetics and pharmacodynamics
(see DETAILED PHARMACOLOGY – Race).
Hepatic Insufficiency
A Phase I study investigated the influence of impaired hepatic function in cirrhotic patients
(Child-Pugh Class A or B, number of patients 8 per group) on the pharmacodynamics and
pharmacokinetics of a single dose of rivaroxaban.
In patients with mild hepatic impairment (Child-Pugh Class A), there was no difference as
compared to healthy volunteers with respect to either pharmacodynamics (inhibition of Factor-
Xa activity [1.08-fold for AUC and 0.98-fold for Emax]), prolongation of prothrombin time
(1.02-fold for AUC and 1.06-fold for Emax), or pharmacokinetics (both total and unbound AUC
[1.15 for total and 0.91-fold increase for unbound] and Cmax [0.97 for total and 0.78-fold for
unbound]).
Child-Pugh Class B patients had lower baseline Factor-Xa activity levels (0.64 U/mL) compared
to healthy subjects and Child-Pugh Class A patients (0.85 U/mL, for both patient populations).
Inhibition of Factor-Xa activity was more pronounced in Child-Pugh Class B patients compared
to both healthy subjects and Child-Pugh Class A patients. The increase of inhibition was 2.6-fold
AUC(0-tn) and 1.2-fold maximal effect (Emax). The group difference was statistically significant,
both for AUC(0-tn) (P <0.01) as well as for Emax (P <0.05) of inhibition of Factor-Xa activity. In
line with these results, a relevant difference in prolongation of PT was observed between healthy
subjects and Child-Pugh Class B patients. The increase of prolongation was 2.1-fold (AUC(0-tn))
and 1.4-fold (Emax). A statistically significant group-difference was observed for AUC(0 tn)
(P <0.0004) as well as Emax (P <0.0001).
Pharmacokinetic parameters also indicated a significant increase in Child-Pugh Class B patients
as compared to healthy volunteers both on AUC pharmacokinetics (both total and unbound AUC
[2.27-fold for total and 2.57-fold increase for unbound]) and Cmax (1.27-fold for total and
1.38-fold for unbound).
A PK/PD analysis showed that the slope of the prothrombin time/plasma concentration
correlation is increased by more than 2-fold for Child-Pugh Class B patients as compared to
healthy volunteers. Since the global clotting test PT assesses the extrinsic pathway that is


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comprised of the coagulation Factor-VII, Factor-X, Factor-V, Factor-II, and Factor-I which are
synthesized in the liver, impaired liver function can also result in prolongations of PT in the
absence of anticoagulant therapy.
The PK/PD changes observed in Child-Pugh Class B patients are markers for the severity of the
underlying hepatic disease which is expected to lead to a subsequent increased bleeding risk in
this patient group.
XARELTO is contraindicated in patients with hepatic disease (including Child-Pugh Class B and
C) associated with coagulopathy, and having clinically relevant bleeding risk (see
CONTRAINDICATIONS, and WARNINGS AND PRECAUTIONS – Hepatic
Impairment).
Renal Insufficiency
As active rivaroxaban is partially cleared via the kidneys (30% to 40% of the dose), there is a
direct but moderate correlation of systemic exposure to rivaroxaban with degree of renal
impairment.
In a Phase I study, following oral single dosing with rivaroxaban 10 mg in subjects with mild
(CrCl 50 – 79 mL/min), moderate (CrCl 30 – 49 mL/min), or severe (CrCl 15 – 29 mL/min)
renal impairment, rivaroxaban plasma concentrations (AUC) were increased 1.4-, 1.5-, and
1.6-fold, respectively compared to healthy subjects with normal renal function
(CrCl ≥80 mL/min).
The overall inhibition of Factor-Xa activity (AUC(0-48h) of effect versus time) was increased in
these groups by a factor of 1.5, 1.9, and 2.0, respectively. The relative prolongation of
prothrombin time (PT) was also affected by renal impairment and showed even more
pronounced effects. AUC(0-48h) of effect versus time was increased by a factor of 1.3, 2.2, and
2.4, respectively.
In Phase II, rivaroxaban plasma concentrations (AUC) were increased 1.2- and 1.5-fold in
subjects with mild and moderate renal impairment respectively compared to healthy subjects
with normal renal function and the peak inhibition of Factor-Xa activity (AUC(0-48h) of effect
versus time) was increased in these groups by a factor of 1.0 and 1.3 respectively. In a pooled
analysis of Phase III THR or TKR subjects with mild and moderate renal impairment, the peak
PT was increased by 1.0-, and 1.1-fold compared to subjects with normal renal function.
In Phase II (VTE treatment), rivaroxaban plasma concentrations (AUC) were 1.3- and 1.5-fold in
subjects with mild and moderate renal impairment, respectively, compared to subjects with
normal renal function. In phase III subjects (VTE treatment) with mild renal impairment, the
peak PT was increased by 1.1-fold, and 1.2-fold for moderate renal impairment compared to
subjects with normal renal function.
In patients with atrial fibrillation evaluated in Phase III, the peak PT was increased by 1.2-fold
for both mild and moderate renal impairment compared to subjects with normal renal function.
There was no evidence of substantial drug accumulation in patients with mild or moderate renal
impairment.




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Different Weight Categories
Extremes in body weight (<50 kg or >120 kg) of patients taking a 10 mg tablet caused less than a
25% change in the plasma concentration of XARELTO (see DETAILED PHARMACOLOGY
– Body Weight).

STORAGE AND STABILITY
Store at 15°C to 30°C.
Store in a safe place out of the reach of children.

DOSAGE FORMS, COMPOSITION AND PACKAGING1
Excipients
Cellulose microcrystalline, croscarmellose sodium, hypromellose 5 cP, lactose monohydrate,
magnesium stearate, sodium lauryl sulfate
Film-coating
Ferric oxide red, hypromellose 15 cP, polyethylene glycol, titanium dioxide
10 mg Tablets:
Film-coated, round, biconvex, light red immediate release tablets of 6 mm diameter for oral use.
Each tablet has the Bayer Cross on one side and 10 and a triangle on the other side.
XARELTO (rivaroxaban) 10 mg tablets are supplied in HDPE bottles of 50 and 120, and in
blisters of 10, 30, and 100.
15 mg Tablets:
Film-coated, round, biconvex, red immediate release tablets of 6 mm diameter for oral use.
Each tablet has the Bayer Cross on one side and 15 and a triangle on the other side.
XARELTO tablets 15 mg are supplied in HDPE bottles of 90 and blisters of 28, 42 and 100.
20 mg Tablets:
Film-coated, round, biconvex, brown-red immediate release tablets of 6 mm diameter for oral
use.
Each tablet has the Bayer Cross on one side and 20 and a triangle on the other side.
XARELTO tablets 20 mg are supplied in HDPE bottles of 90 and blisters of 28, 84 and 100.
Deep Vein Thrombosis (DVT)/Pulmonary Embolism (PE) Starter Pack:
XARELTO tablets are supplied in a 28-day starter blister pack containing 49 tablets: 42 tablets
of 15 mg and 7 tablets of 20 mg. The Starter Pack includes 15 mg and 20 mg tablets.



1
    Not all presentations may be available in Canada.



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                       PART II : SCIENTIFIC INFORMATION

PHARMACEUTICAL INFORMATION
Drug Substance

Proper Name:                  Rivaroxaban

Common Name:                  5-Chloro-N-({(5S)-2-oxo-3-[4-(3-oxo-4-
                              morpholinyl)phenyl]-1,3-oxazolidin-5-yl}methyl)-2-
                              thiophene-carboxamide

Molecular Formula and         C19 H18 Cl N3 O5 S
Molecular Mass:
                              435.89

Structural Formula:




Physicochemical Properties:   Rivaroxaban is a pure (S)-enantiomer. It is an odorless,
                              nonhygroscopic, white to yellowish powder. Rivaroxaban
                              is practically insoluble in water (7 mg/L, pure water) and
                              remains so in aqueous acidic medium (5 mg/L, in 0.1 M
                              and 0.01 M hydrochloric acid) or buffer systems, pH 3 to 9
                              (5 mg/L)




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CLINICAL TRIALS
Prevention of VTE after THR or TKR
The pivotal studies were designed to demonstrate the efficacy of XARELTO (rivaroxaban) for
the prevention of venous thromboembolic events (VTE), ie, proximal and distal deep vein
thrombosis (DVT) and pulmonary embolism (PE) in patients undergoing elective total hip
replacement (THR) or total knee replacement (TKR) surgery. A once daily dose of 10 mg was
selected for all Phase III studies in the prevention of VTE in patients undergoing THR or TKR
surgery, based on clinical data generated in Phase II studies. Over 9,500 patients (7,050 in THR
surgery; 2,531 in TKR surgery) were studied in these controlled randomized double-blind studies
(RECORD 1, 2, and 3).
Pivotal Studies
The RECORD 1 and 3 studies were multicenter, multinational, prospective, double-blind,
double-dummy studies in patients randomized to XARELTO or to enoxaparin, see Table 13. A
non-inferiority was adopted with the pre-specification that, if non-inferiority was shown, a
second analysis would be undertaken to determine if the efficacy of XARELTO was superior to
that of enoxaparin. RECORD 1 was conducted in patients undergoing elective THR surgery
while RECORD 3 was conducted in patients undergoing elective TKR surgery. In both studies,
XARELTO 10 mg once daily started not earlier than 6 hours postoperatively was compared with
an enoxaparin dosage regimen of 40 mg once daily started 12 hours preoperatively, as
recommended in many countries worldwide. The dose of enoxaparin sodium approved for use in
thromboprophylaxis in conjunction with elective THR or TKR surgery in Canada is
subcutaneous 30 mg twice daily with the first dose to be administered 12 to 24 hours
postoperatively. The primary endpoint was Total VTE a composite of any DVT (distal or
proximal), nonfatal PE, or death from any cause. The main secondary endpoint was Major VTE,
a composite endpoint comprising proximal DVT, nonfatal pulmonary embolism (PE), and
VTE-related death. Other pre-specified secondary efficacy endpoints included the incidence of
DVT (any thrombosis, including proximal and distal) and the incidence of symptomatic VTE.
Men and women of 18 years or older scheduled for elective surgery could be enrolled provided
that they had no active or high risk of bleeding or other conditions contraindicating treatment
with low-molecular-weight heparin, no significant liver disease, were not pregnant or
breastfeeding women, or were not using HIV-protease inhibitors.
In RECORD 1 and 3, demographic and surgical characteristics were similar between the two
groups except for a significantly larger number of females in RECORD 3 (XARELTO 70% and
enoxaparin 66%, P = 0.03). The reasons for exclusion of patients from various analyses in both
studies were also similar.




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Table 13 – Summary of the Pivotal Studies for the Prevention of Venous Thromboembolic Events (VTE) in
Patients Undergoing Elective Total Hip Replacement (THR) or Total Knee Replacement (TKR) Surgery

    Study           Study Design            Treatment Regimen                       Patient Populations
            a
RECORD 1        THR patients            XARELTO                         Randomized
                prospectively           10 mg od oral for 35±4 days     4541 (2266 XARELTO, 2275 enoxaparin)
                randomized to           (first dose administered 6 to   Safety Population
                XARELTO or              8 h postoperatively)            4433 (2209 XARELTO, 2224 enoxaparin)
                enoxaparin;                                             mITT
                noninferiority,         Enoxaparin                      3153 (1595 XARELTO, 1558 enoxaparin)
                double-blind, double-   40 mg od SC for 36±4 days       mITT (for Major VTE)
                dummy design;           (first dose administered 12 h   3364 (1686 XARELTO, 1678 enoxaparin)
                multinational study.    preoperatively)                 Per Protocol
                                                                        3029 (1537 XARELTO, 1492 enoxaparin)
RECORD 3a       TKR patients            XARELTO                         Randomized
                prospectively           10 mg od oral for 12±2days      2531 (1254 XARELTO, 1277 enoxaparin)
                randomized to           (first dose administered 6 to   Safety Population
                XARELTO or              8 h postoperatively)            2459 (1220 XARELTO, 1239 enoxaparin)
                enoxaparin;                                             mITT
                noninferiority,         Enoxaparin                      1702 (824 XARELTO, 878 enoxaparin)
                double-blind, double-   40 mg od SC for 13±2 days       mITT (for Major VTE)
                dummy design;           (first dose administered 12 h   1833 (908 XARELTO, 925 enoxaparin)
                multinational study.    preoperatively)                 Per Protocol
                                                                        1631 (793 XARELTO, 838 enoxaparin)
a The mean age of patients in RECORD 1 and 3 was 63.2±11.4, and 67.6±9 years, respectively.
Safety population = The safety population comprised those patients who received at least 1 dose of study drug.
    mITT = A subject was considered valid for the modified intent-to-treat (MITT) analysis if the subject was (1)
    valid for safety analysis; (2) had undergone the appropriate surgery; and (3) had an adequate assessment of
    thromboembolism.
mITT (for Major VTE) = A subject was valid for MITT analysis of major VTE, if the subject was (1) valid for
    safety analysis; (2) had undergone the appropriate surgery; and (3) had an adequate assessment of
    thromboembolism for major VTE.
Per Protocol = the per-protocol (PP) population was to include patients who were (1) valid for the MITT analysis;
    (2) had an adequate assessment of thromboembolism that, in case of a positive finding, was done not later than
    36 h after stop of active study drug, in case of no finding, was done not later than 72 h after the end of active
    study drug; and (3) had no major protocol deviations.
Major VTE = composite of proximal DVT, nonfatal PE, or VTE-related death
od = once daily
SC = subcutaneous


The results of the non-inferiority analysis of Total VTE for RECORD 1 and 3 are presented in
Table 14. For the primary efficacy analysis, the difference between the incidences in the
XARELTO group and the enoxaparin group were estimated, after stratification according to
country using the Mantel-Haenszel weighting, and the corresponding asymptotic two-sided 95%
confidence interval was determined. Tests for non-inferiority and superiority were both based on
the 95% confidence interval. Non-inferiority was shown if the lower limit of the CI was above
the pre-specified non-inferiority margin; -3.5% in RECORD 1 and -4% in RECORD 3.




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Table 14 – RECORD 1 (THR) and RECORD 3 (TKR): Non-inferiority Analysis of Total VTEa, the Primary
Composite Efficacy Endpoint, and its Components –Per Protocol (PP)b Population Through the Double-
Blind Treatment Period

                                                 RECORD 1 (THR)                          RECORD 3 (TKR)
                                           XARELTO             Enoxaparin           XARELTO            Enoxaparin
                                            10 mg od            40 mg od             10 mg od           40 mg od
                                             N=1537              N=1492               N=793              N=838
                                              n (%)               n (%)               n (%)              n (%)
Total VTEa (primary composite               13 (0.9%)            50 (3.4%)           74 (9.3%)         152 (18.1%)
endpoint)
                                              Absolute Risk Reductionc                Absolute Risk Reductionc
                                                2.5% (1.5% to 3.6%;                    8.7% (5.4% to 12.0%;
                                                     P <0.001)                               P <0.001)
     DVT (proximal and/or distal)            11 (0.7)             47 (3.2)            74 (9.3)          147 (17.5)
     Nonfatal PE                              2 (0.1)             1 (<0.1)               0                3 (0.4)
     Death from all causes                   1 (<0.1)             2 (0.1)                0                2 (0.2)
a     Total VTE = DVT (proximal and/or distal), nonfatal PE, or death from all causes
b     PP = the per-protocol (PP) population was to include patients who were (1) valid for the MITT analysis;
      (2) had an adequate assessment of thromboembolism that, in case of a positive finding, was done not later
      than 36 h after stop of active study drug, in case of no finding, was done not later than 72 h after the end of
      active study drug; and (3) had no major protocol deviations
c     Mantel-Haenszel Weighted Reduction to Enoxaparin (Non-inferiority was shown if the lower limit of the CI
      was above the pre-specified non-inferiority margin; -3.5% in RECORD 1 and -4% in RECORD 3)


In both pivotal studies, the per-protocol analysis for the primary endpoint showed that
XARELTO 10 mg od/day (first dose 6 to 8 hours postoperatively) was not inferior to enoxaparin
40 mg/day (first dose 12 to 24 hours preoperatively).
Since non-inferiority was shown, a pre-specified superiority analysis was undertaken to
determine if the efficacy of XARELTO was superior to that of enoxaparin in the modified intent-
to-treat population (mITT). The superiority analysis of Total VTE and data for the main
secondary endpoint (Major VTE) and other secondary endpoints for RECORD 1 and 3 are
presented in Table 15 and Table 16, respectively.




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Table 15 – RECORD 1 (THR): Superiority Analysis for Total VTE (Primary Composite Endpoint)a, Major VTE (Main Secondary Endpoint)b and Their
Components, and Other Selected Efficacy Endpoints – Modified ITTc (MITT) Population Through the Double-Blind Treatment Period

     Parameter                    XARELTO                             Enoxaparin                    Absolute Risk        P-Value      Relative Risk      P-Value
                                    10 mg                               40 mg                        Reductiond                        Reduction
                          n/N          % (95% CI)            n/N           % (95% CI)                % (95% CI)                        % (95% CI)
Total VTE               18/1595    1.1% (0.7% to 1.8%)     58/1558     3.7% (2.8% to 4.8%)       2.6% (1.5% to 3.7%)      <0.001     70% (49%-82%)       P <0.001
Major VTE               4/1686     0.2% (0.1% to 0.6%)     33/1678     2.0% (1.4% to 2.8%)       1.7% (1.0% to 2.5%)      <0.001     88% (66%-96%)       P <0.001
Death from all causes   4/1595     0.3% (0.1% to 0.6%)      4/1558     0.3% (0.1% to 0.7%)      0.0% (-0.4% to 0.4%)       1.00             --               --
Nonfatal PE             4/1595     0.3% (0.1% to 0.6%)      1/1558     0.1% (<0.1% to 0.4%)     -0.2% (-0.6% to 0.1%)      0.37             --               --
DVT (proximal           12/1595    0.8% (0.4% to 1.3%)     53/1558     3.4% (2.6% to 4.4%)       2.7% (1.7% to 3.7%)      <0.001            --               --
and/or distal)
    Proximal DVT        1/1595    0.1% (<0.1% to 0.4%)     31/1558     2.0% (1.4% to 2.8%)       1.9% (1.2% to 2.7%)      <0.001            --               --
    Distal DVT only     11/1595    0.7% (0.3% to 1.2%)     22/1558     1.4% (0.9% to 2.1%)       0.7% (0.0% to 1.5%)       0.04             --               --
VTE-related death       0/1595             0%               1/1558            <0.1%                       --                 --             --               --
Symptomatic VTEe        6/2193     0.3% (0.1% to 0.6%)     11/2206     0.5% (0.3% to 0.9%)      0.2% (-0.1% to 0.6%)       0.22             --               --
a    Total VTE = composite of DVT (proximal and/or distal), nonfatal PE, or death from all causes.
b    Major VTE = composite of proximal DVT, nonfatal PE, or VTE-related death
c    MITT = subject valid for safety analysis, has undergone appropriate surgery, has adequate assessment of thromboembolism
d    Mantel-Haenszel Weighted Reduction to Enoxaparin given for all endpoints except nonfatal PE and death from all causes, for which unweighted (exact) estimates
     were given. Superiority was shown if the lower limit of the CI was above zero.
e    Safety population for Symptomatic VTE (patients valid for safety analysis who underwent the appropriate surgery). The safety population was used because
     assessment of symptomatic events is possible in the greater population, regardless of the availability of an adequate venographic assessment.




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Table 16 – RECORD 3 (TKR): Superiority Analysis for Total VTE (Primary Composite Endpoint)a, Major VTE (Main Secondary Endpoint)b and Their
Components, and Other Selected Efficacy Endpoints – Modified ITT (MITT)c Population Through the Double-Blind Treatment Period

     Parameter                    XARELTO                            Enoxaparin                    Absolute Risk        P-Value      Relative Risk       P-Value
                                    10 mg                              40 mg                        Reductiond                        Reduction
                         n/N          % (95% CI)           n/N           % (95% CI)                % (95% CI)                         % (95% CI)
Total VTE               79/824   9.6% (7.7% to 11.8%)    166/878    18.9% (16.4% to 21.7%)     9.2% (5.9% to 12.4%)      <0.001     49% (35%-61%)         <0.001
Major VTE               9/908     1.0% (0.5% to 1.9%)     24/925      2.6% (1.7% to 3.8%)       1.6% (0.4% to 2.8%)       0.01      62% (18%-82%)         0.016
Death from all causes   0/824      0% (0.0% to 0.5%)      2/878       0.2% (0.0% to 0.8%)      0.2% (-0.2% to 0.8%)       0.23             --               --
Nonfatal PE             0/824      0% (0.0% to 0.3%)      4/878       0.5% (0.1% to 1.2%)       0.5% (0.0% to 1.2%)       0.06             --               --
DVT (proximal           79/824   9.6% (7.7% to 11.8%)    160/878    18.2% (15.7% to 20.9%)     8.4% (5.2% to 11.7%)      <0.001            --               --
and/or distal)
    Proximal DVT        9/824     1.1% (0.5% to 2.1%)     20/878      2.3% (1.4% to 3.5%)      1.1% (-0.1% to 2.3%)       0.07             --               --
    Distal DVT only     70/824   8.5% (6.7% to 10.6%)    140/878    15.9% (13.6% to 18.5%)     7.3% (4.3% to 10.4%)      <0.001            --               --
VTE-related death       0/824             0%               0/878              0%                         --                 --             --               --
Symptomatic VTEe        8/1201    0.7% (0.3% to 1.3%)    24/1217      2.0% (1.3% to 2.9%)       1.3% (0.4% to 2.2%)       0.005            --               --
a    Total VTE = composite of DVT (proximal and/or distal), nonfatal PE, or death from all causes.
b    Major VTE = composite of proximal DVT, nonfatal PE, or VTE-related death
c    MITT = subject valid for safety analysis, has undergone appropriate surgery, has adequate assessment of thromboembolism
d    Mantel-Haenszel Weighted Reduction to Enoxaparin given for all endpoints except nonfatal PE and death from all causes, for which unweighted (exact) estimates
     were given. Superiority was shown if the lower limit of the CI was above zero.
e    Safety population for Symptomatic VTE (patients valid for safety analysis who underwent the appropriate surgery). The safety population was used because
     assessment of symptomatic events is possible in the greater population, regardless of the availability of an adequate venographic assessment.




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The efficacy results of the pre-specified analysis using a modified intent-to-treat population
indicate that XARELTO 10 mg administered postoperatively once daily is superior in preventing
DVT to enoxaparin 40 mg once daily (first dose 12 hours preoperatively). The Canadian
approved dosage regimen for enoxaparin is 30 mg every 12 hours (first dose is to be
administered 12 to 24 hours postoperatively). There are no definitive head-to-head studies to
compare the safety and efficacy of the Canadian approved enoxaparin dosage regimen to the
enoxaparin dosage regimen used in the RECORD 1 and 3 studies.
In the safety population of 3429 patients treated with XARELTO and 3463 patients treated with
enoxaparin in the pivotal studies (RECORD 1 and 3), the results observed for bleeding events
have been summarized in Table 17. In RECORD 1, serious drug-related treatment-emergent
adverse events were reported in 26 (1.2%) for XARELTO and 23 (1.0%) for enoxaparin. In
RECORD 3, serious drug-related treatment-emergent adverse events were reported in 26 (2.1%)
for XARELTO and 19 (1.5%) for enoxaparin.

 Table 17 – RECORD 1 and 3: Detailed Overview of Treatment-Emergent Bleeding Events (Safety Population)a

                                        RECORD 1 (THR)                         RECORD 3 (TKR)
                            XARELTO          Enoxaparin      P-Value   XARELTO       Enoxaparin    P-Value
                             10 mg od         40 mg od                  10 mg od      40 mg od
                              N=2209           N=2224                    N=1220        N=1239
 Any Bleeding                133 (6.0%)       131 (5.9%)      0.90      60 (4.9%)     60 (4.8%)      1.0
 n (%)                     (5.1% to 7.1%)   (5.0% to 7.0%)             (3.8%-6.3%)   (3.7%-6.2%)
 (95% CI)
 Major Bleedingb              6 (0.3%)        2 (0.1%)        0.18       7 (0.6%)      6 (0.5%)     0.79
 n (%)                      (0.1%-0.6%)     (<0.1%-0.3%)               (0.2%-1.2%)   (0.2%-1.1%)
 (95% CI)
   Fatal Bleedingc          1 (<0.1%)b        0 (0.0%)         --       0 (0.0%)      0 (0.0%)       --
   Bleeding into a           1 (<0.1%)        0 (0.0%)         --       1 (0.1%)      2 (0.2%)       --
   critical organ
   n (%)
   Bleeding leading to       2 (0.1%)         1 (<0.1%)        --       5 (0.4%)      4 (0.3%)       --
   reoperation
   n (%)
   Clinically overt          2 (0.1%)         1 (<0.1%)        --       1 (0.1%)      0 (0.0%)       --
   extra-surgical site
   bleeding leading to a
   fall in hemoglobin
   n (%)
   Clinically overt          2 (0.1%)         1 (<0.1%)        --       1 (0.1%)      0 (0.0%)       --
   extra-surgical site
   bleeding leading to
   transfusion of ≥2
   units of blood
   n (%)




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 Table 17 – RECORD 1 and 3: Detailed Overview of Treatment-Emergent Bleeding Events (Safety Population)a

                                          RECORD 1 (THR)                                 RECORD 3 (TKR)
                               XARELTO           Enoxaparin       P-Value      XARELTO          Enoxaparin      P-Value
                                10 mg od          40 mg od                      10 mg od         40 mg od
                                 N=2209            N=2224                        N=1220           N=1239
 Nonmajor Bleedingd             128 (5.8%)        129 (5.8%)          --        53 (4.3%)        54 (4.4%)          --
 n (%)
     Clinically relevant        65 (2.9%)          54 (2.4%)          --        33 (2.7%)        28 (2.3%)          --
     nonmajor bleeding
     n (%)
     Hemorrhagic wound          34 (1.5%)          38 (1.7%)          --        25 (2.0%)        24 (1.9%)          --
     complicationse
     n (%)
 a    Patients may have had more than one type of event, and an event could fall into more than one category;
      adjudicated treatment-emergent bleeding events included those beginning after the initiation of the study drug
      and up to 2 days after last dose of the study drug.
 b    Major bleeding events included: (1) fatal, (2) bleeding into a critical organ (eg, retroperitoneal, intracranial,
      intraocular, or intraspinal bleeding/hemorrhagic puncture), (3) bleeding requiring reoperation, (4) clinically overt
      extra-surgical site bleeding associated with ≥2 g/dL fall in hemoglobin or leading to infusion of ≥2 units of whole
      blood or packed cells.
 c    The event occurred before the administration of the first dose of rivaroxaban.
 d    Nonmajor bleeding events were bleeding events that did not fulfill the criteria of major bleeding.
 e    Composite of excessive wound hematoma and reported surgical-site bleeding.


Phase III Supportive Study
RECORD 2 was a randomized, double-blind, double-dummy, prospective study conducted in
2509 randomized patients (safety population = 2457; mITT = 1733) undergoing THR. The aim
of RECORD 2 was to assess extended thromboprophylaxis with XARELTO for 35±4 days.
RECORD 2 was similar in study design, inclusion/exclusion criteria and endpoints to
RECORD 1, except that enoxaparin 40 mg once daily (first dose given preoperatively) was given
for a shorter duration (12±2 days) than XARELTO 10 mg od (35±4 days). Comparative efficacy
claims to enoxaparin may not be drawn from this study, due to the differences in the treatment
duration of XARELTO and enoxaparin.




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Table 18 – RECORD 2 (THR): Superiority Analysis for Total VTE (Primary Composite Endpoint)a, Major VTE (Main Secondary Endpoint)b and Their
Components, and Other Selected Efficacy Endpoints – Modified ITTc (MITT) Population Through the Double-Blind Treatment Period

      Parameter                    XARELTO                              Enoxaparin                 Absolute Risk         P-Value       Relative Risk      P-Value
                              10 mg od for 35±4 days                40 mg for 12±2 days             Reduction                           Reduction
                           n/N          % (95% CI)            n/N           % (95% CI)              % (95% CI)                          % (95% CI)
Total VTE                 17/864    2.0% (1.2% to 3.1%)     81/869      9.3% (7.5% to 11.5%)    7.3% (5.2% to 9.4%)      <0.0001     79% (65% to 87%)      < 0.001
Major VTE                 6/961     0.6% (0.2% to 1.4%)     49/962      5.1% (3.8% to 6.7%)     4.5% (3.0% to 6.0%)      <0.0001     88% (71% to 95%)      < 0.001
    Death from all        2/864    0.2% (<0.1% to 0.8%)      6/869      0.7% (0.3% to 1.5%)     0.5% (-0.2% to 1.3%)       0.29              --               --
    causes
    Nonfatal PE           1/864    0.1% (<0.1% to 0.6%)      4/869      0.5% (0.1% to 1.2%)     0.3% (-0.2% to 1.1%)       0.37              --               --
    DVT (proximal         14/864    1.6% (0.9% to 2.7%)     71/869      8.2% (6.4% to 10.2%)    6.5% (4.5% to 8.5%)      <0.0001             --               --
    and/or distal)
    Proximal DVT          5/864     0.6% (0.2% to 1.3%)     44/869      5.1% (3.7% to 6.7%)     4.5% (2.9% to 6.0%)      <0.0001             --               --
    Distal DVT only       9/864     1.0% (0.5% to 2.0%)     27/869      3.1% (2.1% to 4.5%)     2.0% (0.7% to 3.3%)       0.0025             --               --
    VTE-related death     0/864             0%               1/869             0.1%                       --                 --              --               --
Symptomatic VTEc          3/1212   0.2% (<0.1% to 0.7%)    15/1207      1.2% (0.7% to 2.0%)     1.0% (0.3% to 1.8%)       0.0040             --               --
a    Total VTE = composite of DVT (proximal and/or distal), nonfatal PE, or death from all causes.
b    Major VTE = composite of proximal DVT, nonfatal PE, or VTE-related death
c    MITT = subject valid for safety analysis, has undergone appropriate surgery, has adequate assessment of thromboembolism
d    Mantel-Haenszel Weighted Reduction to Enoxaparin given for all endpoints except nonfatal PE and death from all causes, for which unweighted (exact) estimates
     were given. Superiority was shown if the lower limit of the CI was above zero.
e    Safety population for Symptomatic VTE (patients valid for safety analysis who underwent the appropriate surgery). The safety population was used because
     assessment of symptomatic events is possible in the greater population regardless of the availability of an adequate venographic assessment.




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 Table 19 – RECORD 2: Detailed Overview of Treatment-Emergent Bleeding Events (Safety Population)a

                                                        XARELTO                      Enoxaparin                P-Value
                                                   10 mg od for 35±4 days       40 mg od for 12±2 days
                                                          N=1228                       N=1229
 Any Bleeding                                              81 (6.6%)                    68 (5.5%)                0.27
 n (%)                                                  (5.3% to 8.1%)               (4.3% to 7.0%)
 (95% CI)
 Major Bleedingb                                           1 (0.1%)                      1 (0.1%)                1.00
 n (%)                                                     (0.0–0.5)                     (0.0–0.5)
 (95% CI)
     Fatal bleeding                                        0 (0.0%)                      0 (0.0%)                 --
     Bleeding into a critical organ                        0 (0.0%)                      1 (0.1%)                 --
     n (%)
     Bleeding leading to reoperation                       0 (0.0%)                      0 (0.0%)                 --
     n (%)
     Clinically overt extra-surgical site                  1 (0.1%)                      0 (0.0%)                 --
     bleeding leading to a fall in
     hemoglobin
     n (%)
     Clinically overt extra-surgical site                  1 (0.1%)                      0 (0.0%)                 --
     bleeding leading to transfusion of ≥2
     units of blood
     n (%)
 Nonmajor Bleedingc                                        80 (6.5%)                    67 (5.5%)                 --
 n (%)
     Clinically relevant nonmajor bleeding                 40 (3.3%)                    33 (2.7%)                 --
     n (%)
     Hemorrhagic wound complicationsd                      20 (1.6%)                    21 (1.7%)                 --
     n (%)
 a     Patients may have had more than one type of event, and an event could fall into more than one category;
       adjudicated treatment-emergent bleeding events included those beginning after the initiation of the study
       drug and up to 2 days after last dose of the study drug.
 b     Major bleeding events included: (1) fatal, (2) bleeding into a critical organ (eg, retroperitoneal, intracranial,
       intraocular, or intraspinal bleeding/hemorrhagic puncture), (3) bleeding requiring reoperation, (4) clinically
       overt extra-surgical site bleeding associated with ≥2 g/dL fall in hemoglobin or leading to infusion of
       ≥2 units of whole blood or packed cells.
 c     Nonmajor bleeding events were bleeding events that did not fulfill the criteria of major bleeding.
 d     Composite of excessive wound hematoma and reported surgical-site bleeding.


The results from this study demonstrate that extended duration prophylaxis with 10 mg
XARELTO od for 35 days provided clinically meaningful decreases in Total VTE, Major VTE,
and symptomatic VTE in THR patients without an increased risk of bleeding.




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Treatment of VTE and prevention of recurrent DVT and PE
The EINSTEIN clinical development program consisted of three Phase III studies. The
EINSTEIN DVT and EINSTEIN PE studies evaluated the treatment of VTE and prevention of
recurrent DVT and PE. The EINSTEIN Extension study evaluated the benefit of continued
treatment in subjects for whom clinical uncertainty regarding the absolute risk-benefit of
extended duration existed.
Patients with VTE who were treated either with rivaroxaban or enoxaparin/VKA for 6 or 12
months in EINSTEIN DVT or EINSTEIN PE, or who were treated for 6 to 14 months with VKA
and in whom there was equipoise to continue anticoagulant treatment were eligible for
enrollment into EINSTEIN Extension. Subjects considered to have been adequately treated with
6 to 12 months of therapy or those who required more prolonged anticoagulation therapy were
not included.

Table 20 - Summary of the Pivotal Studies for the Treatment of VTE and Prevention of Recurrent DVT and
PE
    Study               Study Design           Treatment Regimen                   Patient Population
EINSTEIN DVT                                                            Randomized
                                                                        3449 (1731 XARELTO, 1718 Enox/VKA)

                                              XARELTO                   Safety Population
                                              15 mg bid for 3 weeks     3429 (1718 XARELTO, 1711 Enox/VKA)
                                              followed by 20 mg od
                  multicenter,
                                              3, 6 or 12 monthsa        Per Protocol
                  randomized, open-label,
                                                                        3096 (1525 XARELTO, 1571 Enox/VKA)
                  event-driven
EINSTEIN PE                                   Standard Therapy          Randomized
                  non-inferiority
                                              Enoxaparin bid            4833, (2420 XARELTO, 2413 Enox/VKA)
                  study for efficacy
                                              bridging to therapeutic
                                              VKA                       Safety Population
                                              3, 6 or 12 monthsa        4817 ( 2412 XARELTO, 2405 Enox/VKA)

                                                                        Per Protocol
                                                                        4462 (2224 XARELTO, 2238 Enox/VKA)
EINSTEIN           multicenter,               XARELTO                   Randomized
Extension          randomized, double-blind, 20 mg once daily or        1197 (602 XARELTO, 594 placebo)
                   placebo-controlled, event- placebo for 6 or
                   driven, superiority study 12 monthsa
                   for efficacy in subjects
                   with symptomatic
                   proximal DVT or PE
a    Treatment duration as determined by investigator
Safety population = The safety population comprised those subjects who received at least one dose of study
     medication.
bid = twice daily; od = once daily; VKA = vitamin K antagonist; enox = enoxaparin


Duration of administration in EINSTEIN DVT was up to 12 months (ie, 3, 6 or 12 months) as
determined by the investigator, prior to randomization, based on local risk assessment and
guidelines. Nearly half of the subjects were treated for 6 to 9 months.




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In EINSTEIN DVT, and EINSTEIN PE XARELTO was compared to the standard dual-drug
regimen of enoxaparin administered for at least 5 days in combination with VKA until the
PT/INR was in therapeutic range (≥ 2.0). VKA alone was then continued, dose-adjusted to
maintain the PT/INR values within the therapeutic range of 2.0 to 3.0.

 Table 21 – Co-morbid Diseases and Characteristics of Patients in EINSTEIN DVT, EINSTEIN PE and
 EINSTEIN Extension – ITT Population
                                          EINSTEIN DVT               EINSTEIN PE          EINSTEIN Extension
 Males (%)                                       57%                      53%                   58%
 Age, mean (years)                                56                       58                    58
 Creatinine Clearance (mL/min)
     <50                                          7%                      8%                     7%
     50 to <80                                   23%                     25%                    21%
     ≥80                                         68%                     66%                    62%
 Risk Factors
     Patients with idiopathic DVT/PE             48%                      49%                   59%
     Recent surgery or trauma                    19%                      17%                   4.1%
     Immobilization                              15%                      16%                   14%
     Previous VTE                                19%                      19%                   16%
 Mean TTR, Enox/VKA arm                          58%a                    63%b                    n/a
     North American subjects                     64%                      63%                    n/a
 Pre-randomization anticoagulationc              73%                     92%                     n/a
 Actual Treatment Duration in XARELTO arm
     ≥3 months                                   92%                      92%                   91%
     ≥6 months                                   68%                      73%                   62%
     ≥12 months                                   3%                      4%                     2%
 a    unadjusted Mean TTR. Adjusted Mean TTR is 60%.
 b    Adjusted mean TTR.
 c    Pre-randomization anticoagulation was limited to 24 hours in the majority of cases.
 n/a=not applicable




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Table 22 - Efficacy outcomes in EINSTEIN DVT, EINSTEIN PE and EINSTEIN Extension – ITT population
                                              EINSTEIN DVT                             EINSTEIN PE                        EINSTEIN Extension
                               XARELTO           Enox/VKA       HRa       XARELTO         Enox/VKA        HRa      XARELTO Placebo         HRb
                                N=1731             N=1718    (95% CI)      N=2419          N=2413      (95% CI)      N=602     N=594     (95% CI)
                                                              P-value                                   P-value                           P-value
Symptomatic Recurrent VTEb          36 (2.1%)     51 (3.0%)     0.68      50 (2.1%)       44 (1.8%)       1.12      8 (1.3%) 42 (7.1%)      0.18
                                                            (0.44-1.04)                               (0.754-1.68)                      (0.09-0.39)
                                                             P<0.001a                                  P=0.0026a                          P<0.001
Type of Symptomatic Recurrent VTE
    Fatal PE                        1 (<0.1%)          0          -        3 (0.1%)           1        (<0.1%)          0       1 (0.2%)
    Death where PE could not         3 (0.2%)      6 (0.3%)       -        8 (0.3%)       6 (0.2%)        -         1 (0.2%)        0           -
    be ruled out
    Recurrent PE only               20 (1.2%)     18 (1.0%)       -       23 (1.0%)       20 (0.8%)         -       2 (0.3%)    13 (2.2%)        -
    Recurrent DVT plus PE           1 (<0.1%)          0          -            0          2 (<0.1%)         -          n.a.        n.a           -
    Recurrent DVT only              14 (0.8%)     28 (1.6%)       -       18 (0.7%)       17 (0.7%)         -       5 (0.8%)    31 (5.2%)        -
Symptomatic recurrent VTE           69 (4.0%)     87 (5.1%)     0.72      97 ( 4.0%)      82 (3.4%)       1.16      8 (1.3%)    43 (7.2%)      0.18
and all-cause mortality                                     (0.53-0.99)                               (0.86-1.55)                         (0.085-0.38)
                                                             P =0.044c                                P =0.3333c                          (P<0.0001)c
Net Clinical Benefit                51 (2.9%)     73 (4.2%)     0.67      83 (3.4%)       96 (4.0%)       0.85      12 (2.0%)   42 (7.1%)      0.28
                                                            (0.47-0.95)                               (0.63-1.14)                          (0.15-0.53)
                                                             P =0.027c                                P =0.2752c                            P<0.0001
All On-Treatment Vascular           12 (0.7%)     14 (0.8%)     0.79      35 (1.5%)       37 (1.5%)       0.94       3 (0.5)    44 (0.7%)      0.74
Events                                                      (0.36–1.71)                                0.59-1.49                            (0.17-3.3)
                                                              P=0.55c                                 P=0.7780)c                             P =0.69
All-cause Mortality                 38 (2.2%)     49 (2.9%)     0.67      58 (2.4%)       50 (2.1%)       1.13      1 (0.2%)    2 (0.3%)         -
                                                            (0.44–1.02)                               (0.77-1.65)
                                                             (P=0.06)c                                 P=0.5260
a    P-value for non-inferiority (one-sided);
b    Some patients had more than one event
c    P-value for superiority (two-sided)
n.a.=not assessed




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EINSTEIN DVT
EINSTEIN DVT met its principal objective demonstrating that XARELTO was non-inferior to
enoxaparin/VKA for the primary outcome of symptomatic recurrent VTE (HR of 0.68 [95%
CI = 0.44-1.04], P<0.001) (Table 22 and Figure 3). The results of per-protocol analyses were
similar to those of the intention-to-treat analysis. The pre-specified test for superiority was not
statistically significant (P = 0.0764). The incidence rates for the principal safety outcome (major
or clinically relevant non-major bleeding events), as well as the secondary safety outcome (major
bleeding events), were similar for both groups (HR of 0.97 [95% CI = 0.76-1.22], P = 0.77 and
HR of 0.65 [95% CI = 0.33-1.30], P = 0.21, respectively). The pre-defined secondary outcome of
net clinical benefit, (the composite of the primary efficacy outcome and major bleeding events),
was reported with a HR of 0.67 ([95% CI = 0.47-0.95], nominal P = 0.03) in favour of
XARELTO. The relative efficacy and safety findings were consistent regardless of pre-treatment
(none, LMWH, unfractioned heparin or fondaparinux) as well as among the 3, 6 and 12-month
durations. In terms of other secondary outcomes, vascular events during study treatment occurred
in 12 patients (0.7%) in the XARELTO arm and 14 patients (0.8%) in the enoxaparin/VKA
group (HR of 0.79 [95% CI = 0.36-1.71], P = 0.55), and total mortality accounted for 38 (2.2%)
vs. 49 (2.9%) patients in the XARELTO vs. enoxaparin/VKA arms, respectively, within intended
treatment duration (P = 0.06).




Figure 3: Kaplan-Meier Cumulative Event Rates for the Primary Efficacy Outcome in EINSTEIN-DVT –
Intention-to-Treat Population



EINSTEIN PE
EINSTEIN PE met its principal objective demonstrating that XARELTO was non-inferior to
enoxaparin/VKA for the primary efficacy outcome of symptomatic recurrent VTE (HR of 1.12
[95% CI: 0.75-1.68], P=0.0026) (Table 22 and Figure 4). The results of per-protocol analyses
were similar to those of the intention-to-treat analysis. The pre-specified test for superiority was
not statistically significant (P =0.5737). The incidence rate of the principal safety outcome


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(major or clinically relevant non-major bleeding events) was similar for both groups (HR of 0.90
[95% CI: 0.76 to 1.07] P=0.2305). For major bleeding events, the incidence rate was nominally
lower in favour of XARELTO treatment group (HR of 0.49 [95% CI: 0.31 – 0.79]; P=0.003).
The pre-defined secondary outcome of net clinical benefit (the composite of the primary efficacy
outcome and major bleeding events) was reported with a HR of 0.85 ([95% CI: 0.63-1.14];
P=0.27) in favour of XARELTO. The relative efficacy and safety findings were consistent
regardless of pre-treatment (none, LMWH, unfractioned heparin or fondaparinux) as well as
among the 3, 6 and 12 month durations. In terms of other secondary outcomes, vascular events
during study treatment occurred in 41 patients (1.7%) in the XARELTO arm and 39 patients
(1.6%) in the enoxaparin/VKA group (HR of 1.04 [95% CI = 0.67- 1.61], P = 0.86), and total
mortality accounted for 58 (2.4%) vs. 50 (2.1%) patients in the XARELTO vs. enoxaparin/VKA
arms, respectively, within intended treatment duration (P = 0.53).




Figure 4: Kaplan-Meier analysis: cumulative rate of primary efficacy outcome in study 11702 PE - ITT
Population


EINSTEIN Extension
In the EINSTEIN Extension study, XARELTO was superior to placebo for the primary efficacy
outcome with a HR of 0.18 [95% CI = 0.09-0.39], P<0.001 (ie, a relative risk reduction of 82%)
(Table 22 and Figure 5). For the principal safety outcome (major bleeding events) there was no
significant difference between patients treated with XARELTO compared to placebo (P = 0.11).
The pre-defined secondary outcome of net clinical benefit, defined as the composite of the

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primary efficacy outcome and major bleeding events, was reported with a HR of 0.28 ([95%
CI = 0.15-0.53], P < 0.001) in favour of XARELTO. In terms of other secondary outcomes,
vascular events occurred in 3 patients in the XARELTO arm and 4 patients in the placebo group
(HR of 0.74 [95% CI = 0.17-3.3], P = 0.69), and total mortality accounted for 1 (0.2%) vs.
2 (0.3%) of patients in the XARELTO vs. placebo arms, respectively.




Figure 5: Kaplan-Meier Cumulative Event Rates for the Primary Efficacy Outcome in EINSTEIN Extension


The results from EINSTEIN DVT, EINSTEIN PE and EINSTEIN Extension demonstrate that
XARELTO, at a dose of 15 mg twice daily for the first 3 weeks, followed by 20 mg once daily
thereafter, provides an effective and safe approach for treatment of VTE (DVT, PE) and
prevention of recurrent VTE.
Prevention of Stroke and Systemic Embolism in Patients with Atrial Fibrillation
Evidence for the effectiveness of XARELTO is derived from the ROCKET AF trial, a
prospective, randomized, double-blind, double-dummy, parallel-group, multicenter, pivotal
clinical study comparing the efficacy and safety of once daily oral XARELTO with
dose-adjusted warfarin in patients with atrial fibrillation at risk of stroke or systemic embolism.
In addition to documented atrial fibrillation, patients had prior stroke, TIA or systemic embolism,
or 2 or more of the following risk factors without prior stroke:
   ∀   clinical heart failure and/or left ventricular ejection fraction ≤35%
   ∀   hypertension
   ∀   age ≥75 years
   ∀   diabetes mellitus




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Table 23 – Summary of the ROCKET AF Trial, a Phase III Clinical Trial in Atrial Fibrillation

    Study          Study Design             Treatment Regimen                            Populations
ROCKET AF double-blind,               XARELTO                            Randomized
          double-dummy                20 mg od                           14,264 (7131 XARELTO, 7133 warfarin)
          prospective                 (15 mg od for patients with
                                                                         Safety Population
          randomized                  moderate renal impairment
                                                                         14,236 (7111 XARELTO, 7125 warfarin)
          parallel-group              [CrCl 30 – 49 mL/min])
          multinational study                                            Per Protocol
                                      Warfarin                           14,054 (7008 XARELTO, 7046 warfarin)
                                      dose adjusted to an INR of 2.5
                                      (range 2.0 to 3.0)
Randomized = The randomized / intent-to-treat population represent all uniquely randomized patients.
Safety population = The safety population comprised those patients who received at least 1 dose of study drug.
Per Protocol = The per-protocol population was all intent to-treat patients excluding those who have specific
     pre-defined major protocol deviations that occur by the time of enrollment into the study or during the trial.
od = once daily


Patients with prosthetic heart valves, or those with hemodynamically significant rheumatic
heart disease, especially mitral stenosis, were excluded from the ROCKET AF study, and
thus were not evaluated. These trial results do not apply to patients these conditions,
whether in the presence or absence of atrial fibrillation (see WARNINGS AND
PRECAUTIONS – Cardiovascular, Patients with valvular disease).
The primary objective of this study was to demonstrate that XARELTO, a direct Factor-Xa
inhibitor, was non-inferior to warfarin in reducing the occurrence of the composite endpoint of
stroke and systemic embolism. If non-inferiority was shown, a pre-specified step-wise multiple
testing procedure was undertaken to determine whether XARELTO was superior to warfarin in
primary and secondary endpoints.
The study design, treatment regimen and patient populations are summarized in Table 24 and
Table 25. A total of 14,264 patients were randomized with a mean age of 71 years (range 25 to
97 years) and a mean CHADS2 score of 3.5. Patients were randomized to 20 mg once daily
XARELTO (15 mg in patients with moderate renal impairment at screening) or to dose-adjusted
warfarin, titrated to an INR of 2.0 to 3.0. ROCKET AF had a mean treatment duration of
572 days of XARELTO given as a fixed dose without routine coagulation monitoring.
ROCKET AF studied patients with significant co-morbidities, eg, 55% secondary prevention
population (prior stroke / TIA / systemic embolism), see Table 24. For patients randomized to
warfarin, the time-in-therapeutic range (TTR) of 2.0 to 3.0 was a mean of 55% (cf. 64% in North
American patients).




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 Table 24 – Co-morbid Diseases and Characteristics of Patients in ROCKET AF Trial – ITT Population
 Heart failure and/or left ventricular ejection fraction ≤35%                                             62%
 Hypertension                                                                                             91%
 Age ≥ 75 years                                                                                           44%
 Female                                                                                                   40%
 Diabetes                                                                                                 40%
 Prior Stroke / TIA / Systemic Embolism                                                                   55%
    Strokea                                                                                               34%
    TIAa                                                                                                  22%
    Systemic Embolisma                                                                                     4%
 Valvular Disease (not meeting exclusion criteria)b                                                       14%
 Mean CHADS2                                                                                               3.5
 Prior VKA Use                                                                                            62%
 Prior MI                                                                                                 17%
 a     Some patients may have had more than one event, so sum of individual components do not add up to 55%.
 b     Patients with prosthetic heart valves, or those with hemodynamically significant rheumatic heart disease,
       especially mitral stenosis were excluded from ROCKET AF. Patient with other valvular disease including
       aortic stenosis, aortic regurgitation, and/or mitral regurgitation did not meet the exclusion criteria.
 ITT Population = 14, 264 patients


At baseline, 36.5% of patients were on chronic ASA, 2.4% on anticoagulants other than VKAs,
8.7% on Class III antiarrhythmics, 54.5% on angiotensin converting enzyme (ACE) inhibitors,
22.7% on angiotensin receptor blockers, 60.0% on diuretics, 24.0% on oral antidiabetics, and
65.5% on beta blockers.
ROCKET AF demonstrated that in patients with atrial fibrillation, XARELTO is non-inferior to
warfarin in the primary efficacy endpoint, a composite of prevention of stroke and systemic
embolism in the per protocol population, on-treatment analysis (rivaroxaban: 1.71%/year,
warfarin 2.16%/year, HR 0.79, 95% CI 0.66-0.96, P < 0.001). As non-inferiority was met,
XARELTO was tested, as per the pre-specified analysis, for superiority in primary and
secondary endpoints. XARELTO demonstrated superiority over warfarin for stroke and systemic
embolism in the safety population, on-treatment analysis (HR 0.79, 95% CI 0.65 to 0.95,
P = 0.015), see Table 25 and Figure 6 below.




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Table 25 – ROCKET AF – Time to the First Occurrence of Total Stroke and Systemic Embolism, While on
Treatment (up to Last Dose Plus 2 Days) – Safety Population

          Parameter                     XARELTO               Warfarin           XARELTO vs Warfarin
                                         (N=7061)             (N=7082)
                                    n       %/year        n       %/year      Hazard Ratio       P-value for
                                                                               (95% CI)          superiority
Total stroke and systemic          189        1.70       243       2.15      0.79 (0.65,0.95)       0.015*
embolism (Primary Efficacy
Outcome)
  Total Stroke                     184        1.65       221       1.96      0.85 (0.70,1.03)       0.092
    Hemorrhagic Stroke             29         0.26        50       0.44      0.59 (0.37,0.93)       0.024*
    Ischemic Stroke                149        1.34       161       1.42      0.94 (0.75,1.17)       0.581
    Unknown Stroke Type             7         0.06        11       0.10      0.65 (0.25,1.67)       0.366
  Systemic Embolism                 5         0.04        22       0.19      0.23 (0.09,0.61)       0.003*
Other Endpoints
  All Cause Death                  208        1.87       250       2.21       0.85 (0.70,1.02)       0.073
    Vascular Death                 170        1.53       193       1.71       0.89 (0.73,1.10)       0.289
  Myocardial Infarction            101        0.91       126       1.12       0.81 (0.63,1.06)       0.121
Safety population on-treatment analysis = Events (Adjudicated by CEC) While on Treatment (up to Last Dose Plus
     2 Days) – Safety Population
Hazard ratio (95% CI) and P-value from Cox proportional hazard model with treatment group as a covariate.
p-value (two-sided) for superiority of XARELTO versus warfarin in hazard ratio
*    Statistically significant


While the pre-specified primary analysis for superiority used the on-treatment data set for the
safety population, an intention-to treat (ITT) analysis was also conducted. In this analysis, the
primary endpoint occurred in 269 patients in the rivaroxaban group (2.1% per year) and in 306
patients in the warfarin group (2.4% per year) (hazard ratio, 0.88; 95% CI, 0.74 to 1.03; P<0.001
for non-inferiority; P = 0.12 for superiority).




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 Figure 6: Kaplan-Meier curve of time to first total stroke or systemic embolism in the ROCKET AF trial
 safety population, on-treatment analysis, includes the 15 mg and 20 mg doses of rivaroxaban


The analysis of the principal safety endpoint demonstrates XARELTO has a similar rate to
warfarin for the composite of major and non-major clinically relevant bleeding, see Table 26
below.




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Table 26 – ROCKET AF – Time to the First Occurrence of Bleeding Events While on Treatment (up to Last
Dose Plus 2 Days) – Safety Population

          Parameter                   XARELTO                   Warfarin
                                                                                        XARELTO vs Warfarin
                                       (N=7111)                 (N=7125)
                                      n      %/year       N          %/year           Hazard Ratio         P-value
                                                                                       (95% CI)
Major and Non-major clinically      1475      14.91      1449         14.52         1.03 (0.96,1.11)        0.442
relevant bleeding event
(Principal Safety Endpoint)
 Major Bleeding                     395        3.60      386          3.45          1.04 (0.90,1.20)        0.576
    Hemoglobin Drop (2g/dL)         305        2.77      254          2.26          1.22 (1.03,1.44)       0.019*
    Transfusion (> 2 units)          183       1.65      149          1.32          1.25 (1.01,1.55)       0.044*
    Critical Organ Bleed             91        0.82      133          1.18          0.69 (0.53,0.91)       0.007*
      Intracranial Hemorrhage        55        0.49       84          0.74          0.67 (0.47, 0.94)      0.019*
    Fatal Bleed                      27        0.24       55          0.48          0.50 (0.31,0.79)       0.003*
 Non-major Clinically               1185      11.80      1151         11.37         1.04 (0.96,1.13)        0.345
 Relevant Bleeding
All analysis are based on the time to the first event.
Hemoglobin drop = a fall in hemoglobin of 2 g/dL or more.
Transfusion = a transfusion of 2 or more units of packed red blood cells or whole blood.
Critical organ bleeding are cases where CEC bleeding site=intracranial, intraspinal, intraocular, pericardial, intra-
      articular, intramuscular with compartment syndrome or retroperitoneal.
Hazard ratio (95% CI) and P-value from Cox proportional hazard model with treatment group as a covariate.
P-value (two-sided) for superiority of XARELTO versus Warfarin in hazard ratio.
*     Statistically significant


The incidences of increased liver function tests were low and comparable between the two
groups, see Table 27.

Table 27 – ROCKET AF – Incidence of Pre-specified Post-baseline Liver Function Abnormalities – Safety
Population

              Parameter                      XARELTO                  Warfarin
                                                                                          XARELTO vs Warfarin
                                              (N=7111)                (N=7125)
                                             n/J         %         n/J          %          Hazard Ratio (95% CI)
ALT> 3xULN                                 203/6979     2.91     203/7008      2.90            1.01 (0.83,1.23)
ALT > 3xULN and TBL > 2xULN                31/6980      0.44     33/7012       0.47            0.95 (0.58,1.55)
ULN = Upper Limit of Normal Range, n = Number of patients with events, N= Number of patients valid for safety
    population, J = Number of patients with non-missing lab values, TBL: Total Bilirubin
Hazard Ratio (95% CI): time to event analysis using a Cox model with the treatment as the covariate.

The event rates for efficacy and safety outcomes stratified by age groups are presented in Table
28 and Table 29. The event rates for efficacy and safety outcomes stratified by renal function are
presented in Table 30 and Table 31.


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Table 28 – Efficacy Outcomes by Age Groups in the ROCKET AF Trial, While on Treatment (up to Last
Dose Plus 2 Days) – Safety Population

                            XARELTO                      Warfarin           XARELTO vs Warfarin
                         n/J       Event rate      n/J        Event rate   Hazard Ratio           P-value
                                    (%/yr)                     (%/yr)       (95% CI)
Total Stroke and Systemic Embolism (Primary Efficacy Outcome)
  All Patients         189/7061       1.70      243/7082            2.15   0.79 (0.65,0.95)       0.015*
     < 65 years        43/1642        1.59       42/1636            1.53   1.04 (0.68,1.58)          -
     65 to 75 years    77/2767        1.74       98/2768            2.18   0.79 (0.59,1.07)          -
     > 75 years        69/2652        1.73      103/2678            2.54   0.68 (0.50,0.92)          -
     > 80 years        40/1305        2.17       46/1281            2.39   0.91 (0.60,1.40)          -
     ≥85 years          7/ 321        1.75       9/ 328             1.91   0.92 (0.34,2.47)          -
Total Stroke
  All Patients         184/7061       1.65      221/7082            1.96   0.85 (0.70,1.03)        0.092
     < 65 years        42/1642        1.55       36/1636            1.31   1.18 (0.76,1.84)          -
     65 to 75 years    75/2767        1.69       90/2768            2.00   0.84 (0.62,1.14)          -
     > 75 years        67/2652        1.68       95/2678            2.34   0.72 (0.52,0.98)          -
     > 80 years        38/1305        2.06       42/1281            2.18   0.95 (0.61,1.48)          -
Ischemic Stroke
  All Patients         149/7061       1.34      161/7082            1.42   0.94 (0.75,1.17)        0.581
     < 65 years        30/1642        1.11       23/1636            0.84   1.32(0.77,2.28)           -
     65 to 75 years    68/2767        1.53       66/2768            1.47   1.04 (0.74,1.46)          -
     > 75 years        51/2652        1.28       72/2678            1.77   0.72 (0.50,1.03)          -
     > 80 years        26/1305        1.41       33/1281            1.71   0.83 (0.50,1.39)          -
Hemorrhagic Stroke
  All Patients         29/7061        0.26       50/7082            0.44   0.59 (0.37,093)        0.024*
     < 65 years         9/1642        0.33       12/1636            0.44   0.76 (0.32,1.80)          -
     65 to 75 years     4/2767        0.09       19/2768            0.42   0.21 (0.07,0.62)          -
     > 75 years        16/2652        0.40       19/2678            0.47   0.86 (0.44,1.67)          -
     > 80 years        12/1305        0.65       9/1281             0.47   1.40 (0.59,3.31)          -




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Table 28 – Efficacy Outcomes by Age Groups in the ROCKET AF Trial, While on Treatment (up to Last
Dose Plus 2 Days) – Safety Population

                               XARELTO                           Warfarin                 XARELTO vs Warfarin
                            n/J         Event rate         n/J           Event rate      Hazard Ratio           P-value
                                         (%/yr)                           (%/yr)          (95% CI)
Vascular Death
  All Patients           170/7061          1.53          193/7082           1.71         0.89 (0.73,1.10)        0.289
     < 65 years           35/1642          1.29          44/1636            1.60         0.81 (0.52,1.26)          -
     65 to 75 years       66/2767          1.49          70/2768            1.56         0.95 (0.68,1.33)          -
     > 75 years           69/2652          1.73          79/2678            1.94         0.89 (0.64,1.23)          -
     > 80 years           34/1305          1.84          35/1281            1.81         1.01 (0.63,1.62)          -
     ≥85 years            15/ 321          3.75          12/ 328            2.54         1.44 (0.67,3.08)          -
Safety population on-treatment analysis = Events (Adjudicated by CEC) While on Treatment (up to Last Dose Plus
     2 Days) – Safety Population
n=number of patients with events, J=number of patients in each subgroup.
Hazard ratio (95% CI) and p-value from Cox proportional hazard model with treatment group as a covariate.
P-value (two-sided) for superiority of XARELTO versus warfarin in hazard ratio
* Statistically significant


Table 29 – Bleeding Endpoints by Age Groups in the ROCKET AF trial, While on Treatment (up to Last
Dose Plus 2 Days) – Safety Population

                                    XARELTO                            Warfarin             XARELTO vs. Warfarin
                                  n/J       Event rate           n/J        Event rate      Hazard Ratio         P-value
                                             (%/yr)                          (%/yr)          (95% CI)
Major and Non-major Clinically Relevant Bleeding Event (Principal Safety Endpoint)
  All Patients               1475/7111        14.91        1449/7125          14.52        1.03 (0.96,1.11)       0.442
     < 65 years              241/1646             9.73      260/1642          10.41        0.93 (0.78,1.11)            -
     65 to 75 years          541/2777         13.59         556/2781          13.95        0.98 (0.87,1.10)            -
     > 75 years              693/2688         20.18         633/2702          18.09         1.12(1.00,1.25)            -
     > 80 years              362/1320         22.79         313/1298          18.84        1.20 (1.04,1.40)            -
     ≥85 years                89/ 326         25.46          90/ 335          22.29        1.13 (0.84,1.52)            -
Major Bleeding
  All Patients               395/7111             3.60      386/7125           3.45        1.04 (0.90,1.20)       0.576
     < 65 years               59/1646             2.21      59/1642            2.16        1.02 (0.71,1.46)            -
     65 to 75 years          133/2777             3.04      148/2781           3.34        0.91 (0.72,1.15)            -
     > 75 years              203/2688             5.16      179/2702           4.47        1.15 (0.94,1.41)            -
     > 80 years              118/1320             6.50      86/1298            4.50        1.44 (1.09,1.90)            -
     ≥85 years                28/ 326             7.05       32/ 335           6.91        1.01 (0.61,1.67)            -




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Table 29 – Bleeding Endpoints by Age Groups in the ROCKET AF trial, While on Treatment (up to Last
Dose Plus 2 Days) – Safety Population

                                   XARELTO                        Warfarin         XARELTO vs. Warfarin
                                n/J       Event rate        n/J       Event rate    Hazard Ratio      P-value
                                           (%/yr)                      (%/yr)        (95% CI)
Intracranial Hemorrhage
  All Patients                55/7111         0.49       84/7125         0.74      0.67 (0.47,0.93)   0.019*
     < 65 years               13/1646         0.48       17/1642         0.62      0.78 (0.38,1.60)      -
     65 to 75 years           13/2777         0.29       34/2781         0.75      0.39 (0.20,0.73)      -
     > 75 years               29/2688         0.72       33/2702         0.81      0.89 (0.54,1.47)      -
     > 80 years               22/1320         1.18       15/1298         0.77      1.54 (0.80,2.96)      -
Fatal Bleeding
  All Patients                27/7111         0.24       55/7125         0.48      0.50 (0.31,0.79)   0.003*
     < 65 years                7/1646         0.26       11/1642         0.40      0.65 (0.25,1.66)      -
     65 to 75 years            7/2777         0.16       19/2781         0.42      0.37 (0.16,0.89)      -
     > 75 years               13/2688         0.32       25/2702         0.61      0.53 (0.27,1.03)      -
     > 80 years               10/1320         0.54       12/1298         0.62      0.87 (0.38,2.02)      -
Non-major Clinically Relevant Bleeding
  All Patients               1185/7111       11.80      1151/7125        11.37     1.04 (0.96,1.13)    0.345
     < 65 years              191/1646         7.62       210/1642        8.32      0.91 (0.75,1.11)      -
     65 to 75 years          444/2777        11.00       445/2781        11.02     1.00 (0.88,1.14)      -
     > 75 years              550/2688        15.74       496/2702        13.93     1.13 (1.00,1.28)      -
     > 80 years              276/1320        17.06       249/1298        14.74     1.15 (0.97,1.37)      -
Safety population on-treatment analysis = Events (Adjudicated by CEC) While on Treatment (up to Last Dose Plus
     2 Days) – Safety Population
n=number of patients with events, J=number of patients in each subgroup.
Hazard ratio (95% CI) and P-value from Cox proportional hazard model with treatment group as a covariate.
p-value (two-sided) for superiority of XARELTO versus warfarin in hazard ratio
* Statistically significant




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Table 30 – Efficacy Outcomes Stratified by Renal Function at Study Entry in the ROCKET AF Trial, While
on Treatment (up to Last Dose Plus 2 Days) – Safety Population

                                   XARELTO                     Warfarin             XARELTO vs Warfarin
                                          Event rate       n/J†      Event rate     Hazard Ratio      P-value
                                n/J†
                                           (%/yr)                     (%/yr)         (95% CI)
Total Stroke and Systemic Embolism (Primary Efficacy Outcome)
  All Patients               189/7061         1.70       243/7082        2.15      0.79 (0.65,0.95)   0.015*
     30 – 49 mL/min           50/1481         2.36       60/1452         2.80      0.84 (0.58,1.22)      -
     50 – 80 mL/min           91/3290         1.74       128/3396        2.39      0.73 (0.56,0.96)      -
     > 80 mL/min              47/2278         1.25       54/2221         1.43      0.87 (0.59,1.28)      -
Total Stroke
  All Patients               184/7061         1.65       221/7082        1.96      0.85 (0.70,1.03)    0.092
     30 – 49 mL/min           49/1481         2.31       52/1452         2.42      0.95 (0.64,1.40)      -
     50 – 80 mL/min           88/3290         1.68       120/3396        2.24      0.75 (0.57,0.99)      -
     > 80 mL/min              46/2278         1.22       48/2221         1.27      0.95 (0.64,1.43)      -
Ischemic Stroke
  All Patients               149/7061         1.34       161/7082        1.42      0.94 (0.75,1.17)    0.581
     30 – 49 mL/min           43/1481         2.03       39/1452         1.82      1.11(0.72,1.72)       -
     50 – 80 mL/min           69/3290         1.32       89/3396         1.66      0.80 (0.58,1.09)      -
     > 80 mL/min              36/2278         0.95       32/2221         0.85      1.12 (0.70,1.80)      -
Hemorrhagic Stroke
  All Patients                29/7061         0.26       50/7082         0.44      0.59 (0.37,093)    0.024*
     30 – 49 mL/min            6/1481         0.28       11/1452         0.51      0.55 (0.20,1.48)      -
     50 – 80 mL/min           15/3290         0.29       25/3396         0.47      0.62 (0.33,1.17)      -
     > 80 mL/min               8/2278         0.21       14/2221         0.37      0.57 (0.24,1.35)      -
Vascular Death
  All Patients               170/7061         1.53       193/7082        1.71      0.89 (0.73,1.10)    0.289
     30 – 49 mL/min           55/1481         2.59       54/1452         2.52      1.02 (0.70,1.49)      -
     50 – 80 mL/min           75/3290         1.43       91/3396         1.69      0.85 (0.62,1.15)      -
     > 80 mL/min              40/2278         1.06       47/2221         1.24      0.85 (0.56,1.29)      -
Safety population on-treatment analysis = Events (Adjudicated by CEC) While on Treatment (up to Last Dose Plus
     2 Days) – Safety Population
n=number of patients with events, J=number of patients in each subgroup.
†= Patients with CrCl< 30mL/min or missing baseline CrCl are excluded from the rows of CrCl subgroups (30-49
     mL/min, 50-80 mL/min, >80 mL/min). The patients are, however, included in the “All Patients” rows.
Hazard ratio (95% CI) and p-value from Cox proportional hazard model with treatment group as a covariate.
P-value (two-sided) for superiority of XARELTO versus warfarin in hazard ratio
* Statistically significant




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Table 31 – Bleeding Endpoints Stratified by Renal Function at Study Entry in the ROCKET AF Trial,
While on Treatment (up to Last Dose Plus 2 Days) – Safety Population

                                   XARELTO                           Warfarin         XARELTO vs Warfarin
                                      a                          a
                                n/J       Event rate       n/J           Event rate   Hazard Ratio
                                                                                                         p-value
                                           (%/yr)                         (%/yr)       (95% CI)
Major and Non-Major Clinically Relevant Bleeding Event (Principal Safety Endpoint)
  All Patients               1475/7111       14.91      1449/7125           14.52     1.03 (0.96,1.11)    0.442
      30 – 49 mL/min         336/1498        17.87       341/1472           18.28     0.98 (0.84,1.14)      -
      50 – 80 mL/min         725/3313        15.74       719/3410           15.30     1.04 (0.93,1.15)      -
      > 80 mL/min            412/2288        12.15       388/2230           11.42     1.06(0.92,1.21)       -
Major Bleeding
  All Patients               395/7111         3.60       386/7125           3.45      1.04 (0.90,1.20)    0.576
      30 – 49 mL/min          99/1498         4.72       100/1472           4.72      1.00 (0.76,1.32)      -
      50 – 80 mL/min         183/3313         3.54       197/3410           3.72      0.95 (0.78,1.17)      -
      > 80 mL/min            112/2288         3.02       89/2230            2.38      1.26 (0.95,1.67)      -
Intracranial Hemorrhage
  All Patients                55/7111         0.49       84/7125            0.74      0.67 (0.47,0.93)   0.019*
      30 – 49 mL/min          15/1498         0.70       19/1472            0.88      0.80 (0.41,1.57)      -
      50 – 80 mL/min          27/3313         0.51       43/3410            0.80      0.64 (0.40,1.04)      -
      > 80 mL/min             13/2288         0.34       22/2230            0.58      0.59 (0.30,1.17)      -
Fatal Bleeding
  All Patients                27/7111         0.24       55/7125            0.48      0.50 (0.31,0.79)   0.003*
      30 – 49 mL/min          6/1498          0.28       16/1472            0.74      0.38 (0.15,0.97)      -
      50 – 80 mL/min          14/3313         0.27       24/3410            0.45      0.60 (0.31,1.16)      -
      > 80 mL/min             7/2288          0.19       15/2230            0.40      0.46 (0.19,1.14)      -
Non-major Clinically Relevant Bleeding
 All Patients                1185/7111       11.80      1151/7125           11.37     1.04 (0.96,1.13)    0.345
      30 – 49 mL/min         261/1498        13.67       259/1472           13.61     1.01 (0.85,1.19)      -
      50 – 80 mL/min         596/3313        12.77       570/3410           11.94     1.08 (0.96,1.21)      -
      > 80 mL/min            327/2288         9.48       321/2230           9.36      1.01 (0.86,1.18)      -
Safety population on-treatment analysis = Events (Adjudicated by CEC) While on Treatment (up to Last Dose Plus
     2 Days) – Safety Population
n=number of patients with events, J=number of patients in each subgroup
a= Patients with CrCl< 30 mL/min or missing baseline CrCl are excluded from the rows of CrCl subgroups
     (30-49 mL/min, 50-80 mL/min, >80 mL/min). The patients are, however, included in the “All Patients” rows.
Hazard ratio (95% CI) and p-value from Cox proportional hazard model with treatment group as a covariate.
P-value (two-sided) for superiority of XARELTO versus warfarin in hazard ratio
* Statistically significant




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DETAILED PHARMACOLOGY
Animal Pharmacology
In Vitro
XARELTO (rivaroxaban) is a competitive, selective, and direct, antithrombin independent
Factor-Xa (FXa) inhibitor. It potently inhibits free human FXa, prothrombinase, and clot
associated FXa. Rivaroxaban inhibits human FXa with ∃10 000-fold greater selectivity than for
other serine proteases. Its effect on FXa resulted in a prolongation of clotting times in human
plasma.
In Vivo
Rivaroxaban given prophylactically showed consistent, dose-dependent antithrombotic activity
in both venous (platelet-poor, fibrin-rich) and arterial (platelet-rich, fibrin-poor) thrombosis
models in mice, rats, and rabbits, with higher potency in the venous model.
In a rabbit model of venous thrombus growth, oral rivaroxaban given nonprophylactically
reduced thrombus growth to a similar extent as observed with known efficacious doses of the
control agents nadroparin and fondaparinux.
In a murine model of thromboembolic death, rivaroxaban provided effective protection with
greater potency than enoxaparin.
PT values correlated strongly with the plasma concentrations of rivaroxaban.
The antihemostatic effect of rivaroxaban was evaluated in bleeding time models in rats and
rabbits. Bleeding times were not significantly affected at antithrombotic doses below the ED50
required for antithrombotic efficacy in the arterial thrombosis models. Rivaroxaban showed an
antithrombotic activity/bleeding risk ratio comparable to enoxaparin.
Safety Pharmacology
Safety pharmacology investigation on vital organ systems (cardiovascular system, respiratory
system, and central nervous system) as well as on supplemental organ systems (hematology and
blood coagulation, gastrointestinal function, renal function, and metabolism) revealed no adverse
effect of rivaroxaban.
Studies on ventricular repolarization (hERG K+ current and action potential of isolated rabbit
Purkinje fibers in vitro, ECG recordings in dogs) showed no evidence for a proarrhythmic risk in
humans.
Human Pharmacology
Pharmacokinetics
Rivaroxaban pharmacokinetics are linear with no relevant accumulation beyond steady state after
multiple doses. Variability in pharmacokinetics is moderate with interindividual variability
(coefficient of variation) ranging from 30% to 40%.
Absorption and Bioavailability
Rivaroxaban is a low solubility, high permeability compound. Rivaroxaban is readily absorbed
after oral administration as solution (Cmax after approximately 30 min) as well as tablet (Cmax
after 2 to 4 hours). Oral bioavailability of rivaroxaban is high (80-100%) due to almost complete

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absorption with/without food (at doses up to 15 mg) and lack of relevant presystemic first-pass
extraction of this low-clearance drug.
Due to reduced extent of absorption, an oral bioavailability of 66% was determined for the
20 mg tablet under fasting conditions. When rivaroxaban 20 mg tablets are taken together with
food, increases in mean AUC by 39% and mean Cmax by 76% were observed when compared to
tablet intake under fasting conditions, indicating almost complete absorption and high oral
bioavailability when this dose was taken with food (see DOSAGE AND ADMINISTRATION
– Recommended Dose and Dosage Adjustment).
Distribution
Plasma protein binding for rivaroxaban in humans is high at approximately 92% to 95% in vitro,
with serum albumin being the main binding component. No concentration dependency and no
gender difference in fraction unbound were detected. Mean rivaroxaban protein-bound fractions
determined ex vivo in healthy subjects ranged from 90% to 95%.
Due to its high plasma protein binding, rivaroxaban is not expected to be removed by dialysis.
The binding of rivaroxaban to plasma proteins is fully reversible. In accordance with other
species, rivaroxaban is mainly located in plasma; the human plasma-to-blood partition
coefficient is 1.40.
Metabolism
Rivaroxaban is eliminated by metabolic degradation (approximately 2/3 of administered dose) as
well as by direct renal excretion of unchanged active compound (approximately 1/3 of
administered dose). In all investigated species, the oxidative degradation of the morpholinone
moiety (catalyzed via CYP 3A4/CYP 3A5 and CYP 2J2 and leading via cleavage of the ring and
further oxidation to metabolite M-1) was the major site of biotransformation of rivaroxaban.
Unchanged rivaroxaban is the most important compound in human plasma with no major or
active circulating metabolites being present. No metabolic conversion of rivaroxaban to its
enantiomer was observed in humans.
Taking excretion data and metabolite profiles derived from the mass balance study in man into
consideration, present data from the CYP reaction phenotyping study suggests that contribution
of CYP 3A4/CYP 3A5 accounts for approximately 18% and CYP 2J2 for approximately 14% of
total rivaroxaban elimination, respectively. Besides this oxidative biotransformation, hydrolysis
of the amide bonds (approximately 14%) and active, transporter-mediated renal excretion of
unchanged drug (approximately 30%) play important roles as elimination pathways.
Excretion
Rivaroxaban and its metabolites have a dual route of elimination, via both renal (66% in total)
and biliary/fecal routes; 36% of the administered dose is excreted unchanged via the kidneys via
glomerular filtration and active secretion.




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The clearance and excretion of rivaroxaban is as follows:
∀    1/3 of the active drug is cleared as unchanged drug by the kidneys
∀    1/3 of the active drug is metabolized to inactive metabolites and then excreted by the kidneys
∀    1/3 of the active drug is metabolized to inactive metabolites and then excreted by the fecal
     route.
Rivaroxaban has been identified in vitro to be a substrate both of the active transporter
P-glycoprotein (P-gp) and of the multidrug transport protein BCRP (‘breast cancer resistance
protein’).
With an average systemic plasma clearance of approximately 10 L/h, rivaroxaban is a low-
clearance drug lacking relevant first-pass extraction. Mean terminal elimination half-lives of
rivaroxaban are in the range of 5 h to 9 h after steady-state tablet dosing regimens in young
subjects. Mean terminal elimination half-lives between 11 h to 13 h were observed in the elderly.
Special Populations and Conditions
Geriatrics (>65 Years of Age)
Results from a set of Phase I studies indicate for the target population of elderly higher mean
AUC values by 52% in males and by 39% in females when compared to young subjects of the
same gender, accompanied by an increase in Cmax by 35% in both genders and by terminal half-
lives between 11 and 13 h. Investigating subjects older than 75 years confirmed the expectation,
leading to approximately 41% higher AUC values in comparison to young subjects (90% CI
[1.20 – 1.66]), mainly due to reduced (apparent) total body clearance and renal clearance. No
relevant age effects could be observed for Cmax (Cmax ratio 1.08; 90% CI [0.94-1.25]) or tmax.
Pediatrics (<18 Years of Age)
No clinical data are available for children.
Gender
There were no relevant differences in pharmacokinetics and pharmacodynamics between male
and female subjects, especially when taking into account body weight differences.
Body Weight
Extremes in body weight (<50 kg or >120 kg) had only a small influence (increase in maximum
concentration by <25% on rivaroxaban plasma concentrations and pharmacodynamics.
Race
Differences in rivaroxaban exposure observed between the various investigated ethnic groups —
Caucasians, African-Americans, Hispanics, Chinese and Japanese — were within the normal
magnitude of interindividual variability.
With respect to Factor-Xa activity and coagulation parameters, eg, prothrombin time
(PT Neoplastin® reagent), neither age, gender, nor body weight affected the PD
parameter/rivaroxaban concentration relationship, ie, all observed changes in pharmacodynamics
were driven by the respective underlying plasma exposure in these specific subject populations.
This is also true for the various investigated ethnic groups — Caucasians, African-Americans,
Hispanics, Chinese and Japanese.


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Renal Insufficiency
The safety and pharmacokinetics of single-dose XARELTO (10 mg) were evaluated in a study in
healthy subjects [CrCl ≥80 mL/min (n=8)] and in subjects with varying degrees of renal
impairment (see Table 32). Compared to healthy subjects with normal creatinine clearance,
rivaroxaban exposure increased in subjects with renal impairment. Increases in
pharmacodynamic effects were also observed.

Table 32 - Percent Increase of Rivaroxaban PK and PD Parameters from Normal in Subjects with Renal
Insufficiency from a Dedicated Renal Impairment Study
                                                                         CrCl (mL/min)
                   Parameter                            50 to 79               30 to 49              15 to 29
                                                          N=8                    N=8                    N=8
           Exposure                    AUC                 44                     52                     64
 (% increase relative to normal)        C max             28                       12                   26
        FXa Inhibition                  AUC               50                       86                   100
 (% increase relative to normal)        Emax              9                        10                   12
       PT Prolongation                  AUC               33                      116                   144
 (% increase relative to normal)       Emax                 4                     17                     20
PT = Prothrombin time; FXa = Coagulation factor Xa; AUC = Area under the concentration or effect curve;
Cmax = maximum concentration; Emax = maximum effect; and CrCl = creatinine clearance


In subjects with mild renal impairment, the combined P-gp and moderate CYP 3A4 inhibitor
erythromycin (500 mg three times a day) led to a 1.8-fold increase in mean rivaroxaban AUC
and 1.6-fold increase in Cmax when compared to subjects with normal renal function without co-
medication. In subjects with moderate renal impairment, erythromycin led to a 2.0-fold increase
in mean rivaroxaban AUC and 1.6-fold increase in Cmax when compared to subjects with normal
renal function without co-medication (see WARNINGS AND PRECAUTIONS – Drug
Interactions). Subjects with either mild or moderate renal impairment had a 1.2- and 1.4-fold
increase in Factor Xa inhibition, respectively, and a prolongation of prothrombin time of 1.7- and
1.75-fold in subjects with mild and moderate renal impairment, respectively.
Hepatic Insufficiency
The safety and pharmacokinetics of single-dose XARELTO (10 mg) were evaluated in a study in
healthy subjects (n=16) and subjects with varying degrees of hepatic impairment (see Table 33). No
patients with severe hepatic impairment (Child-Pugh C) were studied. Compared to healthy subjects
with normal liver function, significant increases in rivaroxaban exposure were observed in subjects
with moderate hepatic impairment (Child-Pugh B). Increases in pharmacodynamic effects were also
observed.




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Table 33 - Percent Increase of Rivaroxaban PK and PD Parameters from Normal in Subjects with Hepatic
Insufficiency from a Dedicated Hepatic Impairment Study
                                                             Hepatic Impairment Class (Child-Pugh Class)
                                                                   Mild                      Moderate
                        Parameter
                                                              (Child-Pugh A)             (Child-Pugh B)
                                                                   N=8                          N=8
             Exposure                           AUC                  15                          127
    (% increase relative to normal)             Cmax                  0                           27
                FXa Inhibition                  AUC                   8                          159
    (% increase relative to normal)             Emax                  0                           24
              PT Prolongation                   AUC                   6                          114
    (% increase relative to normal)            Emax                   2                           41
PT = Prothrombin time; FXa = Coagulation factor Xa; AUC = Area under the concentration or effect curve; Cmax =
     maximum concentration; Emax = maximum effect; and CrCl = creatinine clearance



TOXICOLOGY
Acute Toxicity
XARELTO (rivaroxaban) showed low acute toxicity in rats and mice.
Repeated Dose Toxicity
Rivaroxaban was tested in repeat-dose studies up to 6 months in rats and up to 12 months in
dogs. Based on the pharmacological mode of action, a NOEL could not be established due to
effects on clotting time. All adverse findings, except for a slight body weight gain reduction in
rats and dogs, could be related to an exaggerated pharmacological mode of action of the
compound. In dogs, at very high exposures, severe spontaneous bleedings were observed. The
NOAELs after chronic exposure are 12.5 mg/kg in rats and 5 mg/kg in dogs.
Carcinogenicity
In 2-year carcinogenicity studies, rivaroxaban was tested in mice, up to 60 mg/kg/day (reaching
systemic exposure similar to humans) and in rats (up to 3.6-fold higher than in humans) without
demonstration of carcinogenic potential.
Reproductive Toxicology
Rivaroxaban was tested in developmental toxicity studies at exposure levels of up to 38-fold (rat)
and up to 89-fold (rabbit) above the therapeutic exposure in humans. The toxicological profile is
mainly characterized by maternal toxicity due to exaggerated pharmacodynamic effects.
Up to the highest dose tested, no primary teratogenic potential was identified.
[14C]
    Rivaroxaban -related radioactivity penetrated the placental barrier in rats. In none of the fetal
organs and tissues did the exposure in terms of maximum concentrations or AUC exceed the
maternal blood exposure. The average exposure in the fetuses based on AUC(0-24) reached about
20% of the exposure in maternal blood. The AUC in the mammary glands was approximately
equivalent to the AUC in the blood, which indicates secretion of radioactivity into milk (see
CONTRAINDICATIONS).
Rivaroxaban did not show an effect on male or female fertility up to 200 mg/kg.


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Lactation
[14C]
    Rivaroxaban was administered orally to lactating Wistar rats (day 8 to 10 post partum) as a
single oral dose of 3 mg/kg body weight.
[14C]
    Rivaroxaban -related radioactivity was secreted into the milk of lactating rats only to a low
extent in relation to the administered dose: The estimated amount of radioactivity excreted with
milk was 2.12% of the maternal dose within 32 hours after administration (see
CONTRAINDICATIONS).
Mutagenesis
No genotoxicity was observed in a test for gene mutation in bacteria (Ames-Test), in an in vitro
test for chromosomal aberrations, or in the in vivo micronucleus test.




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                                                       IMPORTANT: PLEASE READ



                                                                   When it should not be used:
    PART III: CONSUMER INFORMATION
                                                                   ∀     if you have severe liver disease which leads to an increased
                       Pr
                                                                         risk of bleeding
                            XARELTO®
                                                                   ∀     if you have active bleeding, especially if you are bleeding
                     rivaroxaban tablets                                 excessively
                                                                   ∀    if you are aware of body wounds or injuries at risk of
This leaflet is Part 3 of a three-part "Product Monograph"              bleeding, including bleeding in the brain or bleeding in
published when XARELTO was approved for sale in Canada                  your stomach or gut
and is designed specifically for Consumers. This leaflet is a      ∀    if you are taking certain oral medications to treat fungal
summary and will not tell you everything about XARELTO.                 infections or HIV/AIDS, such as NIZORAL®
Contact your doctor or pharmacist if you have any questions
                                                                        (ketoconazole) or NORVIR® (ritonavir)
about the drug.
                                                                   ∀    if you are taking other anticoagulants (blood thinners) such
 ABOUT THIS MEDICATION                                                  as warfarin, apixaban, dabigatran, heparin or low
                                                                        molecular weight heparin (LMWH) including enoxaparin,
What the medication is used for:                                        dalteparin or heparin derivatives, such as fondaparinux

XARELTO is used for:                                               ∀     if you are pregnant or breastfeeding

    ∀   Prevention of blood clots after major hip or knee          ∀     if you are allergic (hypersensitive) to rivaroxaban (active
        surgery                                                          ingredient of XARELTO) or any of the other ingredients of
                                                                         XARELTO. The ingredients are listed in the “What the
        Blood clots could dislodge and travel to the lungs               nonmedicinal ingredients are” section of this leaflet
        causing serious health risks. Your doctor has              What the medicinal ingredient is:
        prescribed this medication for you because after such
        an operation you are at an increased risk of getting       rivaroxaban
        blood clots.                                               What the nonmedicinal ingredients are:
    ∀   Prevention of blood clots in your brain (stroke) and       cellulose microcrystalline, croscarmellose sodium, ferric oxide
        in other blood vessels in your body if you have            red, hypromellose, lactose monohydrate, magnesium stearate,
        atrial fibrillation                                        polyethylene glycol, sodium lauryl sulfate, titanium dioxide
        Your doctor has prescribed this medication for you         What dosage forms it comes in:
        because you have a form of irregular heart rhythm          Film-coated tablets, 10 mg, 15 mg and 20 mg.
        called atrial fibrillation which can lead to blood clots
        forming and increases your risk of a stroke.               For the treatment of a blood clot in the veins of your legs or
                                                                   lungs, a Starter Pack is available for the first 28 days of
    ∀   Treatment and prevention of blood clots in the             therapy. The Starter Pack includes 15 mg and 20 mg tablets.
        veins of your legs or lungs
                                                                       WARNINGS AND PRECAUTIONS
        Your doctor has prescribed this medication for you
        because you have blood clots in the veins of your legs.
        This makes you at risk of a blood clot dislodging and      Do not stop taking XARELTO without first talking to your
        traveling to the lungs causing serious health risks.       doctor. If you stop taking XARELTO, blood clots may
                                                                   cause a stroke or other complications. This can be fatal or
What it does:                                                      lead to severe disability.
XARELTO is an anticoagulant. It helps prevent blood clots          As with other blood thinners, taking XARELTO may result in
from forming by directly blocking the activity of clotting         serious or life-threatening bleeding from any site, including
Factor-Xa.                                                         internal organs.
                                                                   Take special care when using XARELTO:
                                                                    ∀ if you have an increased risk of bleeding, as could be the
                                                                       case with conditions such as
                                                                         - bleeding disorders



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                                                      IMPORTANT: PLEASE READ



     - very high blood pressure, not controlled by medical        XARELTO is not recommended if you have severe kidney
       treatment                                                  disease. Your doctor will know how to determine your kidney
                                                                  function.
     - active ulcer or a recent ulcer of your stomach or bowel
                                                                  XARELTO is not recommended if you have an artificial heart
     - a problem with the blood vessels in the back of your
                                                                  valve.
       eyes (retinopathy)
                                                                  XARELTO is not recommended in children younger than 18
     - recent bleeding in your brain (stroke, intracranial or
                                                                  years old.
       intracerebral bleeding)
                                                                  Pregnancy and breastfeeding
     - problems with the blood vessels in your brain or spinal
       column                                                     If there is a chance that you could become pregnant, use a
                                                                  reliable contraceptive while you are taking XARELTO. If you
     - a recent operation on your brain, spinal column or eye
                                                                  become pregnant while you are taking XARELTO,
     - a chronic disease of the airways in your lungs causing     immediately tell your doctor, who will decide how you should
       widening, damage and scarring (bronchiectasis), or a       be treated.
       history of bleeding into your lungs
     - if you are older than 75 years of age                          INTERACTIONS WITH THIS MEDICATION

For the treatment and prevention of blood clots in the veins of   Tell your doctor or pharmacist if you are taking:
your legs or lungs, XARELTO is not recommended if your
doctor determines that:                                           ∀    anticoagulants (blood thinners) such as warfarin, heparin
                                                                       or low molecular weight heparin (LMWH) including
∀   you are not able to maintain an adequate blood pressure            enoxaparin, fondaparinux, bivalidrudin, apixaban,
∀   you are taking drugs to break down your blood clots                dabigatran, or anti-platelet agents, such as clopidogrel,
                                                                       ticlopidine, prasugrel, ticagrelor
∀   you have been scheduled for emergency surgical removal
    of blood clots from your lung                                 ∀    oral medications to treat fungal infections such as
                                                                       ketoconazole, itraconazole, posaconazole
Tell your doctor before you take XARELTO, if any of these
apply to you. Your doctor may decide to keep you under closer     ∀    medications for HIV/AIDS such as ritonavir [NORVIR®]
observation.                                                           and lopinavir/ritonavir [KALETRA®]

  If you are having surgery for any reason including an          ∀    anti-inflammatory and pain relieving medicines including
   operation that involves a catheter or injection into your           non-steroidal anti-inflammatory drugs (NSAIDs)
   spinal column (eg, for epidural or spinal anesthesia or pain        (eg, naproxen [NAPROSYN®] or acetylsalicylic acid
   reduction):                                                         [ASPIRIN®])

     - it is very important to take XARELTO before and            ∀    some antibiotics such as clarithromycin
       after the procedure/injection or removal of a catheter     ∀    rifampicin
       exactly at the times you have been told by your doctor
                                                                  ∀    anticonvulsants (to control seizures or fits) such as
     - tell your doctor immediately if you get numbness or             phenytoin, carbamazepine, phenobarbital
       weakness of your legs, or problems with your bowel or
       bladder after the end of anesthesia, because urgent        If you take XARELTO with NSAIDs or antiplatelet agents
       care is necessary                                          such as ASA or clopidogrel you are at an increased risk for
                                                                  bleeding. The use of XARELTO with prasugrel or ticagrelor is
Lactose is a nonmedicinal ingredient in XARELTO. Do not           not recommended.
take XARELTO if a doctor has told you that you have one of
the following rare hereditary diseases:                           Please tell your doctor or pharmacist if you are taking or have
                                                                  recently taken any other medication, including medications
∀ Galactose intolerance                                           obtained without a prescription as well as vitamins and herbal
∀ Lapp lactase deficiency                                         supplements, such as St. John’s Wort. Know the medicines you
∀ Glucose-galactose malabsorption                                 take. Keep a list of them and show it to your doctor and
                                                                  pharmacist when you get a new medicine.




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 PROPER USE OF THIS MEDICATION                                     In case of drug overdose, contact a health care practitioner,
                                                                   hospital emergency department or regional Poison Control
If you are currently taking warfarin (another blood thinner        Centre immediately, even if there are no symptoms.
taken by mouth) or receive other anticoagulant treatment given
by injection, and your doctor has decided XARELTO is               Missed Dose
appropriate for you, make sure you ask your doctor exactly
                                                                   If you are prescribed XARELTO 10 mg, 15 mg or 20 mg once
when and how best to switch and start taking XARELTO.              a day and you have missed a dose, take it as soon as you
Always follow your doctor’s instructions. Do not stop taking       remember. Take the next tablet on the following day at the
XARELTO without talking to your doctor first, because              usual time and then carry on taking a tablet once a day as
XARELTO helps prevent the development of blood clots.              normal. Do not take a double dose to make up for a forgotten
                                                                   tablet.
Swallow the tablet preferably with water. Try to take the tablet
at the same time every day to help you to remember it.             If you are prescribed XARELTO 15 mg twice a day and you
                                                                   have missed a dose, take it as soon as you remember. Do not
Prevention of blood clots after major hip or knee surgery          take more than two 15 mg tablets on one day. If you forget to
Usual dose: 10 mg once a day with or without food.                 take a dose you can take two 15 mg tablets at the same time to
                                                                   get a total of two tablets (30 mg) on one day. On the following
Take the first tablet 6 to 10 hours after your operation. Then     day you should carry on taking one 15 mg tablet twice a day.
take a tablet every day until your doctor tells you to stop.
If you have had a major hip operation, you will usually take        SIDE EFFECTS AND WHAT TO DO ABOUT THEM
XARELTO for 35 days.
                                                                   Like all medicines, XARELTO can cause side effects, although
If you have had a major knee operation, you will usually take
XARELTO for 14 days.                                               not everybody gets them.
                                                                   As XARELTO acts on the blood clotting system, most side
Prevention of blood clots in your brain (stroke) and in other
                                                                   effects are related to signs of bruising or bleeding. In some
blood vessels in your body if you have atrial fibrillation
                                                                   cases bleeding may not be obvious, such as unexplained
Usual dose: 20 mg once a day with food.                            swelling.
To be sure that you get the full benefit from XARELTO, it is       Patients treated with XARELTO may also experience the
important to take the 20 mg tablets with food.                     following side effects:
If your kidneys are not working properly, your doctor may          Nausea, vomiting, stomach ache, constipation, diarrhea,
prescribe 15 mg once a day with food.                              indigestion, and decreased general strength and energy.
To be sure that you get the full benefit from XARELTO, it is
important to take the 15 mg tablets with food.                      SERIOUS SIDE EFFECTS, HOW OFTEN THEY
                                                                    HAPPEN AND WHAT TO DO ABOUT THEM
This is long-term treatment and you should continue to take
XARELTO until your physician says otherwise.                                                                Talk with       Stop
                                                                                                          your doctor      taking
The recommended maximum daily dose is 20 mg.
                                                                                                                or        drug and
Treatment and prevention of blood clots in the veins of your                 Symptom/ Effect               pharmacist        seek
legs or lungs                                                                                              Only In all immediate
                                                                                                             if    cases emergency
Day 1 to 21: 15 mg, 1 tablet twice a day (one 15 mg tablet in
                                                                                                          severe           medical
the morning and one in the evening) with food.
                                                                                                                          attention
From Day 22 onwards: 20 mg, 1 tablet once a day with food.          Common      Bleeding from the
                                                                                surgical wound, an
This is long-term treatment and you should continue to take
                                                                                injury or other medical            
XARELTO until your physician says otherwise.
                                                                                procedure
Swallow the tablet preferably with water.                                       Unexpected bruising                
Overdose
Taking too much XARELTO increases the risk of bleeding.




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                                                   IMPORTANT: PLEASE READ




SERIOUS SIDE EFFECTS, HOW OFTEN THEY                            SERIOUS SIDE EFFECTS, HOW OFTEN THEY
HAPPEN AND WHAT TO DO ABOUT THEM                                HAPPEN AND WHAT TO DO ABOUT THEM
                                      Talk with       Stop                                             Talk with       Stop
                                    your doctor      taking                                          your doctor      taking
                                          or        drug and                                               or        drug and
       Symptom/ Effect               pharmacist        seek              Symptom/ Effect              pharmacist        seek
                                     Only In all immediate                                            Only In all immediate
                                       if    cases emergency                                            if    cases emergency
                                    severe           medical                                         severe           medical
                                                    attention                                                        attention
         Reduction in red blood                                            Bleeding gums for
         cells which can make                                              longer than 5 minutes
         your skin pale and                                                when you brush your
                                                                                                              
         cause weakness,                                                   teeth
         tiredness, dizziness,                                 Un-        Bleeding into the brain
         headache,                                              common     (sudden, severe and                          
         breathlessness,                                                   unusual headache)
         unusually fast                                                    Coughing up blood                  
         heartbeat, or chest pain                                          Bleeding into a joint
         Bleeding into the eye                                            (stiff, sore, hot or               
         Bleeding from stomach                                             painful joint)
         (blood in vomit) or                                               Oozing from the
         bowel (blood in
                                                                                                             
                                                                           surgical wound
         stools/black stools)
         Bleeding from                                                     Decreased urine output      
         hemorrhoids
                                      
                                                                Rare    Liver Disorder:
         Bleeding under the                                             yellowing of the skin
         skin
                                      
                                                                        or eyes, dark urine,
         Blood in your urine,                                           abdominal pain,
                                                                                                              
         (red/pink tinge to                                            nausea, vomiting, loss
         urine)                                                         of appetite
         Genital bleeding in                                            Allergic Reaction:
         post menopausal                                               rash, hives, swelling of
         women                                                          the face, lips, tongue or
         Increased or more                                              throat, and difficulty
                                                                                                                        
         frequent menstrual                                            swallowing or
         bleeding                                                       breathing
         Localized swelling                                    Unknown Compartment
         Nose bleed lasting                                             Syndrome: increased
         more than 5 minutes
                                                                       pressure within legs or
                                                                        arms after a bleed, with              
         Pain or swelling in
         your limbs                                                    pain, swelling,
         Low blood pressure                                             numbness or paralysis
         (lightheaded-ness,                                             Agranulocytosis
         dizziness, and/or                                             [frequent infection
         fainting)                                                      with fever, sore throat,
                                                                        mouth ulcers (sign of                 
         Fever                                                         decreased white blood
         Unusually fast                                                 cells)]
         heartbeat                           
         Itchy skin or rash                  




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                                                       IMPORTANT: PLEASE READ




 SERIOUS SIDE EFFECTS, HOW OFTEN THEY                               REPORTING SUSPECTED SIDE EFFECTS
 HAPPEN AND WHAT TO DO ABOUT THEM
                                                                    You can report any suspected adverse reactions associated
                                        Talk with       Stop
                                                                    with the use of health products to the Canada Vigilance
                                      your doctor      taking
                                                                    Program by one of the following 3 ways:
                                            or        drug and
          Symptom/ Effect              pharmacist        seek       Report online:          www.healthcanada.gc.ca/medeffect
                                       Only In all immediate
                                         if    cases emergency      Call toll-free at:      866-234-2345
                                      severe           medical
                                                      attention     Complete a Canada Vigilance Reporting Form and:
             Stevens-Johnson
             syndrome:                                              Fax toll-free to:       866-678-6789
             Severe skin rash with
             redness, blistering
             and/or peeling of the                                  Mail to:                Canada Vigilance Program
             skin and/or inside of                                                          Health Canada
                                                                                            Postal Locator 0701E
             the lips, eyes, mouth,                       
             nasal passages or                                                              Ottawa ON K1A 0K9
             genitals, accompanied
             by fever, chills,                                      Postage paid labels, Canada Vigilance Reporting Form and
             headache, cough, body                                  the adverse reaction reporting guidelines are available on the
             aches or swollen                                       MedEffectTM Canada website at:
             glands                                                 www.healthcanada.gc.ca/medeffect

 This is not a complete list of side effects. For any unexpected    NOTE: Should you require information related to the
 effects while taking XARELTO, contact your doctor or               management of the side effect, please contact your health
 pharmacist.                                                        professional. The Canada Vigilance Program does not
                                                                    provide medical advice.
 HOW TO STORE IT

Keep at room temperature (15°C-30°C).                               MORE INFORMATION
Keep out of the reach and sight of children.
                                                                   For more information, please contact your health professional
Do not use XARELTO after the expiry date which is stated on        or pharmacist first, or Bayer Inc. at 1-800-265-7382.
the bottle and on each blister after EXP. The expiry date refers
                                                                   This document plus the full Product Monograph, prepared for
to the last day of that month.
                                                                   health professionals can be found at: http://www.bayer.ca or by
Medicines should not be disposed of via wastewater or              contacting the manufacturer at the above-mentioned phone
household waste. Ask your pharmacist how to throw away             number.
medicines you no longer use. These measures will help to
                                                                   This leaflet was prepared by:
protect the environment.
                                                                                     Bayer Inc.
                                                                                     2920 Matheson Boulevard East
                                                                                     Mississauga, Ontario, L4W 5R6
                                                                                     Canada

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